       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 1 of 82




               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ISAAC PAYNE,                                :
                                            :
            Plaintiff,                      :
                                            :      CIVIL ACTION FILE
v.                                          :      NO.: 1:20-CV-5000-JPB-JCF
                                            :
THE SAVANNAH COLLEGE OF                     :
ART AND DESIGN, INC.,                       :
                                            :
            Defendant.                      :

         ORDER and FINAL REPORT and RECOMMENDATION

      This case is before the Court on the Refiled Motion to Dismiss and to Compel

Arbitration filed by The Savannah College of Art and Design, Inc. (“SCAD” or

“Defendant”) (Doc. 35) and Plaintiff’s Renewed Motion to Take Limited Early

Discovery on Issues of Arbitrability (Doc. 40). For the reasons stated below, it is

RECOMMENDED that SCAD’s motion be GRANTED. Further, it is ORDERED

that Plaintiff’s motion be DENIED.

                         PROCEDURAL BACKGROUND

      On December 10, 2020, Plaintiff filed a complaint against Defendant. (Doc.

1). Defendant filed a Motion to Dismiss and Compel Arbitration on January 11,

2021. (Doc. 5). On February 1, 2021, Plaintiff filed his First Amended Complaint

alleging race discrimination and retaliation in violation of 42 U.S.C. § 1981 (“§

1981”) and seeking a declaratory judgment that he did not enter into a valid
                                        1
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 2 of 82




arbitration agreement with Defendant, that Defendant waived any right to arbitrate,

and that the arbitration agreement is unenforceable and not severable. (Doc. 13). On

February 4, 2021, Magistrate Judge Catherine Salinas entered a Report and

Recommendation that Defendant’s first Motion to Dismiss and Compel Arbitration

be denied as moot. (Doc. 14). That recommendation was approved and adopted by

the District Judge. (Doc. 19). On February 26, 2021, Defendant filed a Renewed

Motion to Dismiss and Compel Arbitration (“Second MTCA”). (Doc. 20). Plaintiff

filed a response brief (Doc. 26), and Defendant filed a reply brief. (Doc. 28). On

May 10, 2021, Plaintiff filed a Motion To Take Limited Early Discovery On Issues

Of Arbitrability (“First Discovery Motion”). (Doc. 30). Defendant responded (Doc.

31) and Plaintiff replied (Doc. 32).

      On June 28, 2021, the undersigned issued an Order and Report and

Recommendation that Defendant’s Second MTCA be denied without prejudice,

because SCAD had not proven all of the terms of the alleged arbitration agreement,

and ordering that Plaintiff’s First Discovery Motion be denied as moot without

prejudice. (Doc. 33). The District Judge approved and adopted that recommendation.

(Doc. 37).

      On July 7, 2021, Defendant submitted a Refiled Motion to Dismiss and to

Compel Arbitration (“Third MTCA”). (Doc. 35). Plaintiff responded on July 20,

2021. (Doc. 38). Defendant replied on August 3, 2021. (Doc. 39). On August 12,

                                         2
           Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 3 of 82




2021, Plaintiff filed his Renewed Motion to Take Limited Early Discovery on Issues

of Arbitrability (“Second Discovery Motion”). (Doc. 40). SCAD responded on

August 20, 2021 (Doc. 41), and Plaintiff replied on September 1, 2021 (Doc. 42).

The undersigned addresses the two most recent motions here.

                           FACTUAL BACKGROUND

       The facts for purposes of the present motions are derived from the documents

attached to Defendant’s Second MTCA (Doc. 20-1 at 29-105); the Declaration of

Phil Alletto attached to Defendant’s Second MTCA reply brief (Doc. 28-1 (“Alletto

Decl.”)); documents attached to Defendant’s Third MTCA (Doc. 35-1); documents

attached to Defendant’s reply brief in Support of its Third MTCA (Doc. 39-1);

documents attached to Plaintiff’s response to Defendant’s Third MTCA (Doc. 38-1

through 38-15); and documents attached to Plaintiff’s First Discovery Motion (Doc.

30-2). 1

I.     Plaintiff’s New Hire Orientation At SCAD

       SCAD is an institution of higher education conferring bachelor and master

degrees in art and design disciplines with locations in Savannah and Atlanta,


1
 In its Third MTCA, Defendant did not re-brief its arguments, but “refiles, adopts,
and incorporates by reference its [Second MTCA] (Doc. 20), Brief in Support (Doc.
20-1), Reply Brief in Support (Doc. 28), and Declaration of Phil Alletto (Doc. 28-
1).” (Doc. 35 at 1). Additionally, SCAD filed a Second Declaration of Jonathan
Goldstein (Doc. 35-1 at 1-3 (“Second Goldstein Decl.”)) and an authenticated copy
of the Arbitration Procedures Plaintiff agreed to in 2015 (Id. at 5-18 (the “Arbitration
Procedures”)).
                                           3
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 4 of 82




Georgia, among other places. (Doc. 20-1 at 29-33 (“First Goldstein Decl.”) ¶ 3).2

Plaintiff, a black man, is the former head coach of SCAD’s men’s and women’s

collegiate fishing teams. (Doc. 38-2 (“Pl. Decl.”) ¶¶ 2, 11). Plaintiff was offered that

job in August 2015 and attended a new hire orientation on August 31, 2015. (Pl.

Decl. ¶¶ 11-12; First Goldstein Decl. ¶ 10).

      At his orientation, Plaintiff signed several onboarding documents, including a

Staff Handbook Acknowledgment (“the Acknowledgment”).3 (First Goldstein Decl.

¶ 10; Pl. Decl. ¶ 14). The Acknowledgment states, “Each staff employee must

acknowledge that he/she received the staff handbook and understands that he/she is

responsible for reading, understanding and complying with the policies contained in

the handbook.” (Doc. 38-5). It also provides instructions for accessing the staff

handbook on SCAD’s intranet, MySCAD. (Id.). The Acknowledgment then states,

“I, Isaac Payne, hereby acknowledge that I received access to (through MySCAD)

or a hard copy of the SCAD Staff Handbook on August 30, 2015.” (Id.). It then

provides:

      I further acknowledge that I understand that the Staff Handbook
      contains current policies of SCAD, and I agree to read and comply with


2
  Jonathan Goldstein (“Goldstein”) is the Executive Director of Human Resources
for Defendant. (First Goldstein Decl. ¶ 1).
3
  Each party submitted a copy of the signed Acknowledgment (Doc. 20-1 at 104;
Doc. 38-5). Plaintiff declares he does not remember signing the Acknowledgment,
but he also admits the signature on the Acknowledgment is his and does not dispute
that he signed the document. (Pl. Decl. ¶ 14).
                                          4
          Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 5 of 82




         the policies contained in the handbook, including the Alternative
         Dispute Resolution Policy and Agreement (the “ADRPA”).

         I also understand that SCAD reserves the right to establish, change, or
         abolish any policy or practice at any time to meet the needs of the
         university, with the exception of the ADRPA, which is binding on
         SCAD and me as written, unless revised following the procedures set
         out in the ADRPA.

         I understand and acknowledge that, except for the Alternative Dispute
         Resolution policy, the staff handbook does not create a contract with
         SCAD for any purpose.

(Id.).

         Plaintiff states that SCAD’s human resources (“HR”) staff at his orientation

did not mention the Acknowledgment specifically or explain that it bound him to

arbitrate disputes with SCAD. (Pl. Decl. ¶ 15). He claims they rushed him through

the onboarding paperwork, so he did not review the Acknowledgment before signing

it. (Id. ¶ 16). Plaintiff also states he was not provided with a paper copy of the Staff

Handbook during his orientation, and he did not have access to a computer during

orientation to view an electronic copy of the Staff Handbook. (Id. ¶¶ 21, 23). Further,

the HR staff took the Acknowledgment and other signed forms from him and did not

provide him with his own copy, so he could not make use of the Acknowledgment’s

instructions for electronically accessing the Staff Handbook after orientation. (Id. ¶

20). He did not receive other instructions for electronically accessing the Staff

Handbook after he submitted his signed Acknowledgment. (Id. ¶ 22).

II.      The Staff Handbook, ADRPA, and Arbitration Procedures
                                           5
          Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 6 of 82




         Defendant has produced a true and correct copy of the 2015-16 Staff

Handbook referenced in the Acknowledgment. (First Goldstein Decl. ¶¶ 6-7; see

Doc. 20-1 at 34-103). The Staff Handbook is sixty-four pages long, and the ADRPA

is one of 142 entries. The table of contents in the Staff Handbook indicates that the

ADRPA is in Section 806 of that document, beginning on page thirty-four. (Doc.

20-1 at 37, 73). The text of the ADRPA is not bolded or otherwise different from

any other provision or text in the Staff Handbook, but it is set off by a bold title

reading “Alternative Dispute Resolution Policy and Agreement”. (Id. at 73). Within

the ADRPA, there are no subject headings or subsection numbers to divide up the

provisions. (Id. at 73-75). It is approximately three double-columned pages of text.

(Id.).

         As for its contents, the ADRPA lays out an alternative dispute resolution

process involving “an internal review, mediation and binding arbitration to resolve

all legal disputes that may arise between SCAD and an employee.” (Id. at 73). Under

the ADRPA, if the parties cannot resolve a dispute through the internal review

process or mediation, the dispute can be arbitrated at the election of SCAD or the

employee. (Id. at 74). The ADRPA states the “parties agree that the arbitration shall

be conducted in accordance with and subject to, the rules and procedures set forth in

the Arbitration Procedures.” (Id.). Immediately after, the ADRPA provides a

hyperlink for employees to access the Arbitration Procedures electronically through

                                         6
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 7 of 82




MySCAD and states that paper copies of the Arbitration Procedures are available at

SCAD’s Office of Human Resources. (Id.). The ADRPA then states that the

“ADRPA together with the Arbitration Procedures shall constitute the sole remedy

and entire agreement between the employee and SCAD for the resolution of

Disputes.” (Id. at 75).

III.   Plaintiff’s Termination and SCAD’s Settlement Offer To Pescitelli

       Plaintiff was terminated from his employment with SCAD on March 5, 2018.

(First Goldstein Decl. ¶ 11; Pl. Decl. ¶ 31). SCAD discontinued its fishing teams in

May 2019. (Alletto Decl. ¶ 7).

       According to Plaintiff, a former member of the men’s fishing team, Noah

Pescitelli (“Pescitelli”), who attended SCAD on a fishing scholarship, resigned from

the team during the academic year after Plaintiff was terminated. (Pl. Decl. ¶¶ 34-

36). Plaintiff declares Pescitelli complained to SCAD leadership during his time on

the team “about some of the same issues [Plaintiff] had sought SCAD leadership’s

help in resolving[,]” referring to team members’ conduct at the root of Plaintiff’s

discrimination claim. (Id. ¶ 35). He states that sometime after Pescitelli resigned

from the team, representatives from SCAD asked Pescitelli and his parents to sign a

confidential settlement agreement in exchange for a scholarship of $36,630 for the

following academic year. (Id. ¶ 37). Plaintiff attaches a copy of that settlement offer




                                          7
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 8 of 82




to his response brief. (Doc. 38-7). Pescitelli did not sign the settlement offer and did

not receive the scholarship money. (Pl. Decl. ¶ 38).4

      Alletto, SCAD’s Senior Vice President for Admissions and Student Success

who has firsthand knowledge of the circumstances surrounding the discontinuation

of SCAD’s fishing team, declares SCAD offered to maintain and continue the

athletic scholarships for all then-current members of the fishing teams when it

discontinued the team in May 2019. (Alletto Decl. ¶¶ 7-8). Alletto declares “SCAD

did not require or request that Fishing Team members sign any confidentiality

agreement in connection with this offer, or otherwise agree to confidentiality.” (Id.

¶ 8). Alletto states that Pescitelli was not eligible to have his scholarship continued

at that point because he had resigned from the team earlier that year in February or

March 2019, at which point he forfeited his scholarship. (Id.¶¶ 9-10). According to

Alletto, Pescitelli later obtained an attorney and threatened legal action against

SCAD, and in an effort to resolve that threatened action, SCAD offered to reinstate

Pescitelli’s scholarship for the following academic year in exchange for a release of

claims.5 (Id. ¶ 11). Alletto concedes that settlement offer included a confidentiality


4
  Defendant objects to Plaintiff’s sworn statements about the negotiations between
Pescitelli and Defendant as hearsay that is outside of Plaintiff’s personal knowledge.
(Doc. 28 at 4; Doc. 41 at 10).
5
  Plaintiff disputes that evidence, stating in his second declaration that Pescitelli
continued to receive his athletic scholarship for at least one academic quarter after
he resigned from the team. (Doc. 30-2 (“Second Pl. Decl.”) ¶ 7). Assuming
Plaintiff’s statement is true, it is not inconsistent with Alletto’s evidence.
                                           8
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 9 of 82




clause. (Id.). Pescitelli did not agree to the proposed settlement, and his scholarship

was not reinstated. (Id.).

IV.   Modification Of ADRPA Since 2015

      In August 2019, SCAD modified the ADRPA. (Doc. 39-1 at 1-3 (“Third

Goldstein Decl.”) ¶ 3).6 The only change made to the ADRPA in 2019 was the

addition of a paragraph awarding attorneys’ fees and costs of litigation to the

“prevailing party” if a party files a suit in court to resolve claims that are subject to

the ADRPA. (Id.; Doc. 39-1 at 41-43 (“2019 ADRPA”)). That modification was

later removed in March 2021. (Id.). Defendant admits Plaintiff was never given

notice of those changes. (Second Goldstein Decl. ¶ 5). The Arbitration Procedures

Plaintiff agreed to in 2015 have not been modified since that time. (Id.).

V.    SCAD’s Arbitration Request

      On August 6, 2020, Plaintiff’s counsel sent a letter to SCAD leadership raising

Plaintiff’s claims that are the subject of this suit. (Pl. Decl. ¶ 41; Doc. 38-8). On

August 21, 2020, Defendant’s counsel sent an email to Plaintiff’s counsel insisting



Defendant’s settlement offer to Pescitelli was made in July 2019 (Doc. 38-7 at 2). If
Pescitelli resigned in February 2019, then he could have received his scholarship for
at least one more academic quarter and then become ineligible to receive it
thereafter, all before July 2019. Thus, during settlement negotiations with SCAD in
July 2019, the parties would have been discussing the reinstatement of his
scholarship, not its continuance.
6
  Goldstein’s second declaration incorrectly stated that the modification occurred in
2020. (Second Goldstein Decl. ¶ 5).
                                           9
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 10 of 82




that the ADRPA was binding on Plaintiff and governed this dispute. (Doc. 38-12,

Declaration of Daniel Werner (“Werner Decl.”) ¶ 3(a); Doc. 38-13 at 2). Defendant’s

counsel sent another email several days later containing copies of Plaintiff’s signed

Acknowledgment and the Arbitration Procedures. (Werner Decl. ¶ 3(a); Doc. 38-13

at 3). On October 14, 2020, Defendant’s counsel emailed Plaintiff’s counsel again

insisting that the ADRPA was enforceable and indicating Defendant would move to

enforce the ADRPA and seek costs and attorney’s fees involved in doing so if

Plaintiff elected to bring this lawsuit. (Werner Decl. ¶ 3(b); Doc. 38-14 at 3).

      Plaintiff initiated this suit on December10, 2020. After the procedural history

described above, the Court has been presented with the two present motions. With

briefing on these motions complete, the Court considers their merits.

                                   DISCUSSION

I.    Defendant’s Motion To Compel Arbitration

      Defendant moves the Court to compel Plaintiff to arbitrate his claims pursuant

to the parties’ 2015 agreement and dismiss those claims from this Court. (Doc. 35).

Defendant has demonstrated that the parties entered into a valid arbitration

agreement that governs Plaintiff’s § 1981 claims, and Plaintiff has refused to

arbitrate those claims. Therefore, Defendant’s motion should be granted.

      a. Defendant’s Incorporation Of Previous Briefs




                                          10
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 11 of 82




      Before discussing the merits of Defendant’s motion, the undersigned must

address a preliminary matter. Plaintiff asserts that Defendant’s motion should be

dismissed because, rather than briefing its motion, Defendant “refiles, adopts, and

incorporates by reference its Renewed Motion to Dismiss and to Compel Arbitration

(Doc. 20), Brief in Support (Doc. 20-1), Reply Brief in Support (Doc. 28), and

Declaration of Phil Alletto (Doc. 28-1)” and simply adds a second declaration from

Goldstein to prove the existence of the relevant Arbitration Procedures. (Doc. 35 at

1). According to Plaintiff, he and the Court are “left to guess as to which arguments

or section of the respective brief[s]” SCAD refers. (Doc. 38 at 2) (quoting

Biedermann v. Ehrhart, No. 1:20-cv-1388-JPB, 2021 WL 1061794, at *1 (N.D. Ga.

Mar. 19, 2021)). By way of example, Plaintiff notes that SCAD’s incorporated brief

supporting his Second MTCA references Goldstein’s first declaration, but he claims

SCAD “has replaced that declaration with the Second Goldstein Declaration in its

newly Refiled MTCA.” (Doc. 38 at 2). Further, Plaintiff notes that SCAD’s

incorporation of its twenty-five-page brief in support of its Second MTCA and its

twenty-three-page reply brief in support of that motion, put together, exceed the

twenty-five pages allowed for any brief filed in support of a motion under this

District Court’s local rules. LR 7.1(D), NDGa. Plaintiff also correctly notes that this

Court has denied motions to dismiss where incorporated briefs exceeded the page




                                          11
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 12 of 82




limit for a brief in the local rules. Aldridge v. Travelers Home & Marine Ins. Co.,

No. 1:16-cv-1247-SCJ, 2019 WL 8439150, at *1 (N.D. Ga. Feb. 21, 2019).

      The Court will not deny Defendant’s motion on these grounds and ask the

parties to file briefs on this matter for the fourth time. Defendant’s decision to

incorporate its previous briefs into the brief supporting its present MTCA has

undoubtedly made deciphering its arguments more difficult. However, it has not

made the task impossible. Plaintiff’s counsel has apparently been able to interpret

Defendant’s factual and legal positions and respond appropriately. (Doc. 38).

Plaintiff’s lone specific concern regarding Goldstein’s first declaration is unfounded.

Defendant intended Goldstein’s second declaration to supplement his first

declaration, not replace it. Defendant said in its Third MTCA that it incorporates its

“Brief in Support [of its Second MTCA] (Doc. 20-1).” (Doc. 38 at 1). It appears

Defendant intended to incorporate all of docket number 20-1, which contains

Goldstein’s first declaration and several other vital documents referenced in that

brief. Further, Defendant explained that it filed Goldstein’s second declaration “in

addition” to the incorporated documents. (Doc. 38 at 1). Defendant also clarified in

its reply brief supporting the Third MTCA that Goldstein’s second declaration was

not intended to replace his first. (Doc. 39 at 3 n.3). The Court should also exercise

its discretion to excuse Defendant exceeding the page limit for a brief in the local

rules without permission from the Court. It does not appear that Plaintiff had

                                          12
         Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 13 of 82




inadequate space to respond to Defendant’s incorporated arguments or was

otherwise prejudiced by Defendant exceeding the page limit, largely because he also

exceeded the page limit, albeit with permission. Thus, to prevent delaying the

resolution of this arbitrability dispute any further, the undersigned will not dismiss

it on these procedural grounds. Instead, the undersigned has considered the briefs

and supporting documents and reached a recommendation on Defendant’s motion.

      b. Law Governing Defendant’s MTCA

      The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq., was enacted in

1925 “to reverse longstanding judicial hostility toward arbitration.” Caley v.

Gulfstream Aerospace Corp., 428 F.3d 1359, 1367 (11th Cir. 2005). The FAA

reflects “a liberal federal policy favoring arbitration agreements.” Hill v. Rent-A-

Center, Inc., 398 F.3d 1286, 1288 (11th Cir. 2005). One purpose of the FAA is “to

relieve congestion in the courts and to provide parties with an alternative method for

dispute resolution that is speedier and less costly than litigation.” Indus. Risk

Insurers v. M.A.N. Gutehoffnungshutte GmbH, 141 F.3d 1434, 1440 (11th Cir.

1998).

      The FAA applies to any “written provision in any … contract evidencing a

transaction involving commerce.” 9 U.S.C. § 2. “The Supreme Court has interpreted

the term ‘involving commerce’ in the FAA as the functional equivalent of the more

familiar term ‘affecting commerce’—words of art that ordinarily signal the broadest

                                         13
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 14 of 82




permissible exercise of Congress’ Commerce Clause power.” Caley, 428 F.3d at

1370 (quoting Jenkins v. First Am. Cash Advance of Ga., LLC, 400 F.3d 868, 874

(11th Cir. 2005)). Here, because SCAD’s overall employment practices affect

commerce, the alleged agreement here is governed by the FAA. See id. at 1370

(“Because Gulfstream’s overall employment practices affect commerce, the

Commerce Clause requirement is satisfied.”). Moreover, the ADRPA expressly

states it is “promulgated pursuant to the [FAA]” and “shall be conducted in

accordance with the [FAA].” (Doc. 20-1 at 74).

      To determine whether to grant a motion to compel arbitration under the FAA,

“the Court must assess whether: ‘(1) there is a valid written agreement to arbitrate;

(2) the issue [sought to be arbitrated] is arbitrable under the agreement; and (3) the

party asserting the claims has failed or refused to arbitrate the claims.’” Lomax v.

Woodmen of the World Life Ins. Soc’y, 228 F.Supp.2d 1360, 1362 (N.D. Ga. 2002)

(citation omitted). The undersigned takes those issues in turn below.

      c. Parties Entered Into A Valid Arbitration Agreement

      The Court must first address any arguments regarding whether the parties

formed a valid contract. Regan v. Stored Value Cards, Inc., 85 F.Supp.3d 1357, 1360

(N.D. Ga. 2015) (“A court must first consider ‘any formation challenge to the

contract containing the arbitration clause,’ [] because ‘a party plainly cannot be

bound by an arbitration clause to which it does not consent.’”) (citations omitted).

                                         14
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 15 of 82




“The threshold question of whether an arbitration agreement exists at all is ‘simply

a matter of contract.’” Bazemore v. Jefferson Capital Systems, LLC, 827 F.3d 1325,

1329 (11th Cir. 2016) (quoting First Options of Chicago, Inc. v. Kaplan, 514 U.S.

938, 943 (1995)). “Absent such an agreement, ‘a court cannot compel the parties to

settle their dispute in an arbitral forum.’” Id. (quoting Klay v. All Defendants, 389

F.3d 1191, 1200 (11th Cir. 2004)). “[S]tate law generally governs whether an

enforceable contract or agreement to arbitrate exists.” Caley, 428 F.3d at 1368

(citing Perry v. Thomas, 482 U.S. 483, 492 n.9 (1987)). “The ‘federal policy

favoring arbitration, however, is taken into consideration even in applying ordinary

state law.’” Id. (quoting Cooper v. MRM Inv. Co., 367 F.3d 493, 498 (6th Cir. 2004)

(quotation marks and citation omitted)). The parties agree that Georgia contract law

governs the issue of formation.

      Plaintiff does not challenge whether the parties formed an agreement to

arbitrate in 2015. Rather, he argues Defendant has failed to prove the terms of the

version of the contract governing this dispute, which he styles as a formation

challenge. (Doc. 38 at 8-12). Under Georgia contract law, the parties formed a valid

agreement to arbitrate in 2015. The later modifications SCAD made to that

agreement never went into effect against Plaintiff, because he was never notified of

those modifications. Therefore, the 2015 agreement governs this dispute, and

Plaintiff’s formation challenge fails.

                                         15
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 16 of 82




             i. The Parties Formed A Contract

      Under Georgia law, a binding contract exists when there is “(1) a definite offer

and (2) complete acceptance (3) for consideration.” Johnson v. Macy’s South, LLC,

No. 1:07-cv-1256-WSD, 2007 WL 2904126, at *3 (N.D. Ga. Sept. 27, 2007)

(quoting Caley v. Gulfstream Aerospace Corp., 333 F.Supp.2d 1367, 1374 (N.D. Ga.

2004)). Here, the ADRPA constituted an offer to form an agreement to arbitrate. The

ADRPA stated that “acceptance of employment or the continuation of employment

by an individual shall be deemed acceptance of this ADRPA.” (Doc. 20-1 at 75).

Plaintiff worked for Defendant for several years, and therefore accepted the ADRPA

offered to him at his 2015 orientation according to its terms. Further, Plaintiff signed

the Acknowledgement in August 2015, which says that Plaintiff agreed to read and

comply with the ADRPA, that the ADRPA was binding on SCAD and himself as

written, and that the ADRPA created a contract between SCAD and himself. (Id. at

104). As for consideration, the ADRPA also states, “The employee has agreed to

mediate and then arbitrate his/her Disputes against SCAD and, in return, SCAD has

agreed to mediate and then arbitrate any Disputes it may have against the

employee[,]” and “[t]he mutual obligations set forth in this ADRPA shall constitute

a contract between the employee and SCAD….” (Id.). Those mutual promises to

resolve disputes through arbitration constitute valid consideration to form a contract.

See Caley, 428 F.3d at 1376 (“Georgia law provides that mutual promises and

                                          16
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 17 of 82




obligations are sufficient consideration to support a contract.”) (citing Atlanta Six

Flags P’ship v. Hughes, 191 Ga. App. 404, 381 S.E.2d 605 (Ga. Ct. App. 1989));

see also Thi of Georgia at Shamrock, LLC v. Fields, No. CV 313–032, 2013 WL

6097569, at *4 (S.D. Ga. Nov. 18, 2013) (“[T]he parties’ mutual promise to resolve

any disputes…through arbitration suffices as consideration.”). Plaintiff does not

challenge any of those elements of contract formation under Georgia law. (Doc. 38

at 8-12).

      Previously, the Court found that Defendant’s Second MTCA must be denied

because SCAD had not proven the existence of all the terms of the arbitration

agreement it was seeking to enforce, namely, the Arbitration Procedures mentioned

in the ADRPA. (Doc. 33 at 10-15). However, Defendant has submitted with its Third

MTCA a certified copy of the Arbitration Procedures Plaintiff agreed to in August

2015. (Doc. 35-1 at 5-18; Second Goldstein Decl. ¶ 3). Those Arbitration

Procedures, along with the ADRPA that was already in the record, reflect the terms

of the entire arbitration agreement between the parties.

            ii. The 2015 ADRPA Governs This Dispute

      Plaintiff argues Defendant has failed to prove the existence of the version of

the arbitration agreement “applicable in 2020, the time SCAD first demanded Mr.

Payne submit his dispute to arbitration.” (Doc. 38 at 8). This challenge fails.




                                          17
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 18 of 82




      The 2015 ADRPA states, “SCAD retains the right to modify or terminate this

ADRPA and the Arbitration Procedures on thirty days’ written notice. The policy, if

any, in effect at the time a request for mediation and/or arbitration is initiated, will

govern the process by which the Dispute is resolved.” (Doc. 20-1 at 75). Defendant

requested that Plaintiff’s claims be submitted to arbitration in August 2020. (Doc.

38-13; 38-14). Thus, according to the terms of the 2015 ADRPA, this dispute should

be governed by the versions of the ADRPA and Arbitration Procedures that were “in

effect” in August 2020.

      Defendant asserts in its Third MTCA that the 2015 ADRPA and Arbitration

Procedures were still “in effect” between these parties in August 2020, so they

should govern this dispute. (Doc. 35 at 1-2). To support that position, SCAD cites to

the second declaration of Goldstein, wherein Goldstein declares that the Arbitration

Procedures Plaintiff agreed to in 2015 have never been modified, so they have been

in effect as to both parties since 2015. (Second Goldstein Decl. ¶ 5). There is no

doubt that the 2015 Arbitration Procedures govern this dispute. However, the

evidence shows the ADRPA was modified in August 2019. (Third Goldstein Decl.´¶

3). Plaintiff was not given notice of those modifications (the “2019 ADRPA”), so

Defendant asserts they never went into effect against Plaintiff, meaning the 2015

ADRPA was still in effect against him in August 2020. (Doc. 35 at 2; Second

Goldstein Decl. ¶¶ 5-6; Doc. 39 at 6-7). Plaintiff argues that the modification

                                          18
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 19 of 82




provision of the ADRPA is ambiguous as to which version of the ADRPA was “in

effect” in August 2020 and that the ambiguity must be resolved against SCAD as the

drafter, making the 2019 ADRPA or no version applicable to this dispute. (Doc. 38

at 10-12).7 Alternatively, Plaintiff suggests the Court allow limited discovery into

the parties’ intended meaning of the “in effect” language. (Id. at 11-12). In reply,

Defendant insists that the 2015 ADRPA governs this dispute. It also enters a copy

of the 2019 ADRPA into the record and offers to let Plaintiff decide which version

of the ADRPA he would like to apply. (Doc. 39 at 6-7).

      The 2015 ADRPA governs this dispute, as it is the version of the ADRPA that

was “in effect” between these parties when arbitration was requested in August

2020. The “in effect” provision is not ambiguous, as Plaintiff insists, but can only

reasonably be read one way. The only reasonable interpretation of that provision, in



7
  Plaintiff actually argues first that SCAD’s evidence supports Plaintiff’s position
that the 2019 ADRPA governs this dispute, because Goldstein’s second declaration
states the 2019 “modification did apply to Plaintiff because SCAD did not provide
written notice of it to former employees.” (Second Goldstein Decl. ¶ 5) (emphasis
added). However, from context, it is clear that statement from Goldstein contained
a scrivener’s error and was supposed to say the 2019 ADRPA did not apply to
Plaintiff. It would be illogical to conclude that the 2019 modification applied to
Plaintiff “because SCAD did not provide written notice” of it, when the modification
provision says changes are only effective “on thirty days’ written notice.” (Doc. 20-
1 at 75). Further, in the next paragraph of his declaration, Goldstein states “the
ADRPA (Doc. 20-1 at 73-75)…governs this dispute.” (Second Goldstein Decl. ¶ 6).
That is a citation to the 2015 ADRPA. Thus, the Court disregards Plaintiff’s
argument that the 2019 ADRPA governs here to the extent it relies on Mr.
Goldstein’s scrivener’s error.
                                          19
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 20 of 82




context of the entire ADRPA, is that it intended for any dispute between the parties

to be governed by the version of the ADRPA in effect between these two parties

when arbitration was requested. The Court reaches that conclusion for several

reasons.

      First, the modification provision immediately preceding the “in effect”

provision dictates that any modification to the ADRPA can only occur “on thirty

days’ written notice.” The clear implication is that any modification to the original

agreement does not take effect against any person to whom SCAD does not give

thirty days’ written notice. In light of the modification provision, the “in effect”

provision can only reasonably be read as referring to the version of the ADRPA in

effect between the parties at the time arbitration was requested. Any other reading

would be illogical. It simply cannot be read as meaning the parties wanted a dispute

between them to be governed by a modified version of the ADRPA that was in effect

“as to incoming employees”, “as to employees who had received proper notice of

the modification”, “as to most other employees”, or some other tortured reading that

would allow the 2019 ADRPA to be enforced against Plaintiff. Any such reading

would mean the parties intended that Plaintiff be governed by a version of the

ADRPA he was not properly notified of, and therefore could not have assented. The

modification provision flatly says otherwise. Here, SCAD did not notify plaintiff of

the 2019 modification to the ADRPA, so, according to the modification provision,

                                         20
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 21 of 82




that version never went into effect against him. Therefore, the “in effect” provision

cannot be reasonably read as stating that the parties intended for SCAD to be able to

enforce the 2019 ADRPA against Plaintiff.

      Secondly, nothing in the ADRPA indicates that the parties intended for their

original agreement, the 2015 ADRPA, to become void or unenforceable if SCAD

failed to provide notice of a modification. Importantly, the modification provision

does not explicitly say as much. Moreover, the ADRPA’s severability clause

demonstrates that the parties intended for any unenforceable modification to the

agreement to be severed. The ADRPA states, “Should any term or provision of this

ADRPA or the Arbitration Procedures, or portion thereof, be declared void or

unenforceable, it shall be severed, and the remainder shall be enforceable.” (Doc.

20-1 at 75). In discussing severability of a term in an arbitration agreement, the

Eleventh Circuit has held:

      If all the provisions of the arbitration clause are enforceable, then the
      court must compel arbitration according to the terms of the agreement.
      If, however, some or all of its provisions are not enforceable, then the
      court must determine whether the unenforceable provisions are
      severable. Severability is decided as a matter of state law. Anders [v.
      Hometown Mortg. Servs., Inc.], 346 F.3d 1024, at 1032 (11th Cir.
      2003). If the offensive terms are severable, then the court must compel
      arbitration according to the remaining, valid terms of the parties'
      agreement. The court should deny the motion to compel arbitration only
      where the invalid terms of the arbitration clause render the entire clause
      void as a matter of state law.




                                         21
          Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 22 of 82




Terminix Int’l Co. LP v. Palmer Ranch Ltd. P’ship, 432 F.3d 1327, 1331 (11th Cir.

2005).

      In Georgia, a contract may be either entire or severable. If a contract is
      severable, the part of the contract that is valid will not be invalidated by
      a separate part that is unenforceable. The intent of the parties
      determines whether a contract is severable. “[S]everability clauses are
      enforceable under Georgia law and the FAA requires that arbitration
      agreements be treated no less favorably than other contracts under state
      law.”

Webb v. Doordash, Inc., 451 F.Supp.3d 1360, 1367 (N.D. Ga. 2020) (internal

citations omitted). “The parties’ intent may be expressed directly, through a

severability clause[.]” Vegesina v. Allied Informatics, Inc., 257 Ga. App. 693, 694

(2002).

      As explained above, any purported modification to the ADRPA that Plaintiff

was not provided notice of is unenforceable against him. In addition, as shown by

SCAD’s submission of a certified copy of the 2019 ADRPA into the record, the only

difference between the two versions at issue is that the 2019 ADRPA has an

additional paragraph awarding attorneys’ fees and costs of litigation to the

“prevailing party” if a party files a suit in court to resolve claims that are subject to

the ADRPA. (Third Goldstein Decl. ¶ 3; Doc. 39-1 at 41-43). The severability clause

demonstrates that the parties did not intend for one unenforceable modified

provision to void the entire original agreement between the parties. Rather, pursuant

to the severability clause, the prevailing party provision can just be severed, leaving

                                           22
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 23 of 82




only the terms of the 2015 ADRPA remaining in effect against Plaintiff. Therefore,

in August 2020, the 2019 modification was not in effect against Plaintiff, but the

2015 ADRPA was still in effect against him.8

      Even if the relevant provisions were ambiguous and could be read as meaning

the 2015 ADRPA, 2019 ADRPA, or no version of the ADRPA could have been in

effect against Plaintiff in August 2020, the Court should resolve that ambiguity in

favor of SCAD and require that the 2015 ADRPA govern this dispute. Plaintiff

contends in several places that any ambiguity surrounding the “in effect” or

modification provisions must be resolved against SCAD as the drafter of the

contract. (Doc. 38 at 10) (citing First Acceptance Ins. Co. of Georgia, Inc. v. Hughes,

305 Ga. 489, 496 (2019)). In Hughes, the Supreme Court of Georgia said, “[I]f an

agreement ‘is capable of being construed two ways, it will be construed against the

preparer and in favor of the non-preparer. OCGA § 13-2-2(5).’” Hughes, 305 Ga. at

496 (quoting Hertz Equip. Rental Corp. v. Evans, 260 Ga. 532, 533, 397 S.E.2d 692

(1990) (citation and punctuation omitted)). The Georgia statute cited in Hughes and

Evans contains the following rule of contractual interpretation: “If the construction


8
  Plaintiff argues that the “in effect” provision contemplates the possibility that no
version of the ADRPA would be in effect when arbitration is requested between the
parties, because it states “[t]he policy, if any, in effect at the time a request…is
initiated” will govern arbitration. But that language is referring to the possibility that
the ADRPA was explicitly terminated prior to a dispute arising, as is contemplated
in the modification/termination provision. (Doc. 20-1 at 75) (“SCAD retains the
right to modify or terminate this ADRPA….”).
                                           23
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 24 of 82




[of a contract] is doubtful, that which goes most strongly against the party executing

the instrument or undertaking the obligation is generally to be preferred.” OCGA §

13-2-2(5). However, any ambiguity here should be resolved in Defendant’s favor.

Georgia’s statutory rules for contractual interpretation also state, “The construction

which will uphold a contract in whole and in every part is to be preferred, and the

whole contract should be looked to in arriving at the construction of any part[.]”

OCGA § 13-2-2(4) (Westlaw 2010) (emphasis added). Additionally, the federal

court’s policy favoring arbitration must still be considered when applying state laws

of contractual interpretation to an arbitration agreement governed by the FAA.

Caley, 428 F.3d at 1368. Here, if the contract is construed to state that no version of

the ADRPA was in effect against Plaintiff in August 2020, then the arbitration

agreement would essentially be void. Thus, in order to “uphold [the] contract in

whole” and satisfy the federal policy favoring arbitration, any such reading should

be rejected. If the contract is construed to mean the 2019 ADRPA was in effect

against Plaintiff in August 2020, then Plaintiff could argue that version of the

contract is unenforceable because he was not notified of it and did not assent to it.

Thus, to uphold the contract, the Court rejects that construction as well.9




9
 Even still, if any ambiguity were resolved in such a way that the 2019 ADRPA
governed this dispute, SCAD’s motion could still survive, because it has provided
proof of that version of the agreement.
                                        24
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 25 of 82




      Lastly, Plaintiff’s authority on this issue is all distinguishable, as each of those

cases involved a lack of evidence that those plaintiffs ever assented to an arbitration

agreement in the first place. Bazemore, 827 F.3d at 1330-32 (affirming denial of

defendant’s motion to compel arbitration against credit card holder because

defendant failed to produce any competent evidence of the terms or existence of the

supposed arbitration agreement); Mason v. Midland Funding LLC, 815 Fed. App’x

320, 324-27 (11th Cir. 2020) (affirming denial of Midland Funding’s motion to

compel arbitration against credit card holder because Midland Funding failed to

submit competent evidence establishing the terms of the supposed arbitration

agreement or that the plaintiff ever received an electronic or hard copy of those

terms) (citing Bazemore, 827 F.3d at 1330-32); Reed v. Eastside Medical Center,

LLC, No,. 1:19-cv-03967-SDG, 2020 WL 5659436, at *5-7 (N.D. Ga. Sept. 23,

2020) (denying motion to compel arbitration because defendant did not establish

authenticity of electronic signature on arbitration agreement and did not show the

plaintiff assented to the arbitration clauses in the credit card agreement). Here, there

is no dispute that Plaintiff assented to the 2015 ADRPA in August 2015.

      For those reasons, the terms of the 2015 ADRPA and Arbitration Procedures

were in effect between the parties when Defendant requested arbitration in August

2020. Defendant has produced an authenticated copy of those documents. Therefore,




                                           25
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 26 of 82




Defendant has met its burden of proving the terms of the governing arbitration

agreement.

      d. Delegation Of Arbitrability

      Next, Defendant asserts that any challenge to the enforceability of the

arbitration agreement should not be resolved by this Court, as questions of

enforceability have been delegated to the arbitrator by the terms of the agreement.

(Doc. 20-1 at 8). The arbitration agreement does not clearly and unmistakably

delegate questions of enforceability to arbitration in § 1981 claims. Therefore, the

Court must decide Plaintiff’s enforceability challenges.

      Parties to an arbitration agreement “may agree to arbitrate gateway questions

of arbitrability including the enforceability, scope, applicability, and interpretation

of the arbitration agreement.” Jones v. Waffle House, Inc., 866 F.3d 1257, 1264 (11th

Cir. 2017) (citing Rent–A–Center, W., Inc. v. Jackson, 561 U.S. 63, 68–69 (2010)).

“Indeed, an agreement to arbitrate these gateway issues ‘is simply an additional,

antecedent agreement the party seeking arbitration asks the federal court to enforce,

and the FAA operates on this additional arbitration agreement just as it does on any

other.’” Id. (quoting Rent–A–Center, 561 U.S. at 70). “Just as the arbitrability of the

merits of a dispute depends upon whether the parties agreed to arbitrate that dispute,

so the question ‘who has the primary power to decide arbitrability’ turns upon what

the parties agreed about that matter.” Id. (quoting First Options, 514 U.S. at 943)

                                          26
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 27 of 82




(citations omitted) (emphasis in original). Such an antecedent agreement is often

called a “delegation provision.” Id. (citing Rent–A–Center, 561 U.S. at 68). The

Supreme Court has held that courts “should not assume that the parties agreed to

arbitrate arbitrability unless there is clear and unmistakable evidence that they did

so.” Id. at 1267 (quoting First Options, 514 U.S. at 944; accord AT&T Techs., Inc.

v. Commc'ns Workers of Am., 475 U.S. 643, 649, 106 S.Ct. 1415, 89 L.Ed.2d 648

(1986) (“[T]he question of arbitrability ... is undeniably an issue for judicial

determination. Unless the parties clearly and unmistakably provide otherwise, the

question of whether the parties agreed to arbitrate is to be decided by the court, not

the arbitrator.”)).

       If “an arbitration agreement contains a delegation provision—committing to

the arbitrator the threshold determination of whether the agreement to arbitrate is

enforceable—the courts only retain jurisdiction to review a challenge to that specific

provision.” Id. (quoting Parnell v. CashCall, Inc., 804 F.3d 1142, 1144 (11th Cir.

2015)). “Only if we determine that the delegation clause is itself invalid or

unenforceable may we review the enforceability of the arbitration agreement as a

whole.” Id. (quoting Parm v. Nat’l Bank of Cal., N.A., 835 F.3d 1331, 1335 (11th

Cir. 2016)). But a court can examine a challenge to a delegation provision only if

the claimant “challenge[d] the delegation provision directly.” Id. (quoting Parnell,

804 F.3d at 1144). In other words, Plaintiff “must have alleged that the delegation

                                         27
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 28 of 82




provision specifically—and not just the agreement as a whole—can be ‘defeated by

fraud, duress, unconscionability, or another generally applicable contract defense.’”

Id. (quoting Parnell, 804 F.3d at 1146) (quotations omitted).

      Here, there are two provisions in the ADRPA that address delegation of

arbitrability disputes. The first provision states, “[T]he arbitrator shall have the

authority to determine whether, and to what extent, this ADRPA applies to a Dispute

between SCAD and an employee.” (Doc. 20-1 at 74) (“First Delegation

Provision”).10 The second provision states:

      For Disputes involving non-competition, nonsolicitation, fiduciary or
      confidentiality obligations, as well as Disputes involving trade secrets,
      trademarks or intellectual property, the employee or SCAD may,
      without inconsistency with the ADRPA, petition any court of
      competent jurisdiction and seek interim, injunctive or other equitable
      relief until the arbitrator award is rendered or the Dispute otherwise
      resolved, provided that the employee may not petition any court
      concerning the enforceability of this ADRPA and the arbitrator shall
      have the sole authority to determine whether, and to what extent, this
      ADRPA applies to a Dispute between SCAD and an employee.”

(Id. at 74-75) (“Second Delegation Provision”). The parties disagree about what

questions those provisions delegate to an arbitrator. Further, Plaintiff directly



10
  The Arbitration Procedures contain a nearly identical provision that states, “The
Arbitrator shall have the authority to determine whether, and to what extent, the
Alternative Dispute Resolution Policy and Agreement applies to a dispute between
the College and an employee.” (Doc. 35-1 at 11). Because that provision is
substantively identical to the one in the ADRPA, the Court does not address it
separately.
                                        28
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 29 of 82




challenges the enforceability of the delegation provisions, arguing they are

unconscionable due to the fee-shifting that could result from having to arbitrate

questions of arbitrability. The Court addresses those issues in turn.

              i. Whether Provisions Delegate Questions Of Enforceability

       In its brief supporting its Second MTCA, SCAD argues that the language of

the two delegation provisions shows “the parties’ intent to delegate all issues of

arbitrability to the arbitrator.” (Doc. 20-1 at 8). Plaintiff disagrees, contending that

the two provisions are far from a “clear and unmistakable” delegation of questions

regarding the arbitration agreement’s enforceability, which is the relevant question

here. First, Plaintiff argues that the omission of the word “sole” in the First

Delegation Provision should be read as giving an arbitrator the non-exclusive

authority to determine “whether, and to what extent, this ADRPA applies to a

Dispute between SCAD and an employee[,]” leaving the door open for this Court to

decide such questions. (Doc. 38 at 13-14). According to Plaintiff, the omission of

“sole” in the First Delegation Provision must be given meaning because it is included

in the Second Delegation Provision. (Id.). In the Second Delegation Provision,

arbitrators are specifically given “sole authority to determine whether, and to what

extent, this ADRPA applies to a Dispute between SCAD and an employee[,]” but

that provision is limited by the first clause of that sentence restricting its applicability




                                            29
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 30 of 82




to certain types of legal claims, none of which underly this suit.11 (Id.). Second,

Plaintiff argues that the First Delegation Provision only delegates questions of

applicability to arbitrators, not questions of enforceability, which form the basis of

Plaintiff’s arbitrability challenges here. (Id. at 14). Plaintiff asserts that

“applicability” deals with questions such as whether the ADRPA applies to his §

1981 claims, whereas “enforceability” pertains to questions such as whether the

arbitration agreement is unconscionable. (Id.). Thus, according to Plaintiff, his

enforceability challenges are not delegated to an arbitrator under the First Delegation

Provision, because it only delegates questions of applicability. (Id. at 14-15). It is

implicit in Plaintiff’s arguments that the Second Delegation Provision does not apply

to this suit because of its first clause limiting its applicability to only certain types of

legal disputes that are not relevant here.12 In its reply brief supporting its Second

MTCA, incorporated into its Third MTCA, SCAD rejects Plaintiff’s “semantic

games” regarding the use of the word “sole”. (Doc. 28 at 6-7). Further, SCAD argues

that the ADRPA’s delegation of authority to determine questions of “applicability”



11
   The first clause of the sentence containing the Second Delegation Provision limits
its applicability to “[d]isputes involving non-competition, nonsolicitation, fiduciary
or confidentiality obligations, as well as Disputes involving trade secrets,
trademarks. or intellectual property[.]” (Doc. 20-1 at 74-75). Plaintiff’s § 1981
claims and his declaratory judgment claim regarding the arbitrability of this suit do
not fit into any of those categories.
12
   Plaintiff’s arguments in his response to the present MTCA are identical to his
response to the Second MTCA. (See Doc. 26 at 11-14).
                                           30
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 31 of 82




should not be distinguished from its delegation of authority to determine questions

of “enforceability” because “[w]hether the ADRPA is enforceable is necessarily part

and parcel of any determination of ‘whether, and to what extent, the ADRPA applies

to a Dispute between SCAD and an employee.’” (Id. at 7). In other words, as SCAD

puts it, “if the enforceability of the ADRPA were intended to be excluded from the

ADRPA’s broad delegation of arbitrability to the arbitrator, presumably the ADRPA

would have said so.” (Id. at 8). Finally, in SCAD’s reply brief supporting the present

MTCA, it appears to argue for the first time that the enforceability disputes here are

delegated to an arbitrator because the ADRPA “encompasses and includes all legal

claims or controversies between SCAD and an employee, regardless of type.” (Doc.

39 at 8) (quoting Doc. 20-1 at 73).

      The Court has carefully considered with the arguments on this question of

delegation. After much deliberation, the Court finds the ADRPA does not clearly

and unmistakably delegate disputes over the enforceability of this arbitration

agreement to an arbitrator.

      In explaining that conclusion, it is helpful to begin by identifying what the

ADRPA does clearly and unmistakably delegate. The First Delegation Provision

plainly delegates questions of the ADRPA’s “applicability” to any dispute between




                                         31
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 32 of 82




SCAD and Plaintiff.13 However, that does not constitute a broad delegation of all

arbitrability questions, as SCAD asserts. Arbitrability is an umbrella term that

encompasses questions of contract formation, enforceability, scope, applicability,

and interpretation, among other things. Jones, 866 F.3d at 1262 (finding the

arbitration agreement there contained a broad delegation provision expressing intent

to arbitrate all questions of arbitrability, “including questions concerning the

interpretation, applicability, enforceability, and formation of the agreement.”);

Granite Rock Co. v. Int’l Broth. Of Teamsters, 561 U.S. 287, 299-300 (2010) (listing

“enforceability” and “applicability” separately when discussing questions of

arbitrability that must be resolved by a court “absent a valid provision specifically

committing such disputes to an arbitrator”); Arbitrability Definition, Black’s Law

Dictionary (11th ed. 2019), available at Westlaw (listing questions of “whether the

parties entered in an enforceable agreement” separately from “whether the dispute

is within the scope of the arbitration agreement”). Defendant cites no authority for

the notion that delegating questions of an agreement’s “applicability” to a particular

legal claim also delegates all questions of arbitrability, such as enforceability. The

bottom line is that “enforceability” and “applicability” are separate and distinct types

of arbitrability disputes that can arise of out an arbitration agreement. Therefore, the


13
   The term “dispute” as used in the ADRPA “encompasses and includes all legal
claims or controversies between SCAD and any employee regardless of type.” (Doc.
20-1 at 73).
                                       32
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 33 of 82




delegation of questions regarding “whether, and to what extent, this ADRPA applies

to a Dispute between SCAD and an employee” does not clearly and unmistakably

delegate disagreements over the agreement’s enforceability.

      For the same reasons, SCAD’s argument that questions of enforceability are

“part and parcel” of questions of applicability must fail. (Doc. 28 at 7). Similar

provisions in other cases demonstrate that the two sub-categories of arbitrability are

viewed as separate and distinct types of arbitrability disputes. Jones, 866 F.3d at

1262; Githieya v. Global Tel*Link Corp., No. 1:15-cv-0986-AT, 2016 WL 304534,

at *3 (N.D. Ga. Jan. 25, 2016) (“The arbitrator…shall have exclusive authority to

resolve all disputes arising out of or relating to the interpretation, applicability,

enforceability or formation of these Terms of Use[.]”); Parnell, 804 F.3d at 1148

(holding that all issues of arbitrability were delegated by the provision committing

to arbitration “any issue concerning the validity, enforceability, or scope

[applicability] of this loan or the Arbitration agreement.”). That is particularly true

where, as in the Second Delegation Provision in this case, the parties list questions

of enforceability separately from questions of applicability. The listing of

enforceability and applicability as separate matters in the Second Delegation

Provision is evidence that the parties might not have intended the First Delegation

Provision to encompass questions of enforceability. That doubt regarding the




                                          33
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 34 of 82




delegation of enforceability challenges is enough to prevent the First Delegation

Provision from clearing the high bar of the “clear and unmistakable” standard.

      The Second Delegation Provision also does not clearly and unmistakably

delegate enforceability challenges in § 1981 discrimination and retaliation claims.

That provision does state that employees “may not petition any court concerning the

enforceability of this ADRPA”, but that clause is preceded by a qualifying clause

that could be read as limiting its applicability to disputes “involving non-

competition, non-solicitation, fiduciary or confidentiality obligations, as well as

Disputes involving trade secrets, trademarks or intellectual property[.]” Perhaps the

qualifying clause was not meant to apply to the Second Delegation Provision.

Perhaps it was only intended to apply to the clause immediately following the

qualifying clause, which says the parties in such disputes “may, without

inconsistency with the ADRPA, petition any court of competent jurisdiction and

seek interim, injunctive or other equitable relief until the arbitrator award is rendered

or the Dispute otherwise resolved….” However, it is not unreasonable to read the

qualifying clause as applying to the entire remainder of the sentence, including the

Second Delegation Provision. In other words, the Second Delegation Provision

could be read as only prohibiting Plaintiff from bringing challenges to the

enforceability of the contract where the underlying dispute involves non-

competition, non-solicitation, fiduciary or confidentiality obligations, trade secrets,

                                           34
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 35 of 82




trademarks, or intellectual property. None of those claims are involved here. Thus,

the Second Delegation Provision does not clearly and unmistakably delegate

enforceability challenges to an arbitrator in the present case.

      Lastly, to the extent SCAD argues that the language in the ADRPA broadly

defining the term “dispute” in that agreement delegates all arbitrability questions to

an arbitrator, that argument fails. The ADRPA states, “The term ‘Dispute’…

encompasses and includes all legal claims or controversies between SCAD and any

employee regardless of type.” (Doc. 20-1 at 73). In attempting to distinguish the

present case from S. Tr. Ins. Co. v. Guidewire Software, Inc., No. 5:20-cv-00327-

TES, 2020 WL 6879259 (M.D. Ga. Nov. 23, 2020), cited by Plaintiff, SCAD notes

that the arbitration provision in Guidewire contained similar language to that in the

ADRPA’s definition of “dispute.” In Guidewire, the arbitration agreement said that

“arbitration…shall be the exclusive remedy to resolve any disputes between the

parties arising in connection with this Agreement….” Guidewire, 2020 WL

6879259, at *3. The Court there stated it was tempted to read “any and all disputes”

as encompassing disputes over arbitrability, but decided that provision was not

specific enough to delegate questions of arbitrability, comparing it to more specific

delegation provisions that meet the “clear and unmistakable” standard. Guidewire,

2020 WL 6879259, at *3-4 (citing Jones, 866 F.3d at 1267). The Court is not

convinced that Guidewire stands for the notion that a broad definition of “dispute”

                                          35
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 36 of 82




in an arbitration agreement can encompass questions of arbitrability. In fact, it stands

for the opposite conclusion. Thus, this argument by SCAD fails.

      For those reasons, the delegation provisions in the ADRPA do not clearly and

unmistakably delegate disputes over the arbitration agreement’s enforceability to an

arbitrator in § 1981 claims such as this one. The Court must resolve Plaintiff’s

arbitrability challenges.

             ii. Plaintiff’s Enforceability Challenge To Delegation Provision

      Plaintiff also directly challenges the enforceability of the delegation

provisions, contending in a footnote that “any delegation of arbitrability to the

arbitrator also is substantively unconscionable because of the ADRPA’s fee-shifting

requirement.” (Doc. 38 at 12 n.8). In doing so, he incorporates an argument from

later in his brief that the ADRPA is substantively unconscionable, and therefore

unenforceable, because of the fee-shifting provision contained therein. (Id. at 22-

25). If the District Judge agrees with the undersigned’s conclusion that the ADRPA

does not delegate Plaintiff’s enforceability challenges to an arbitrator, then he does

not need to evaluate the enforceability of the delegation provisions themselves.

However, if the District Judge disagrees with the undersigned’s analysis of the scope

of the delegation provisions and finds that they do delegate Plaintiff’s enforceability

challenges, then the issue of whether the delegation provision is enforceable would




                                          36
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 37 of 82




require attention. Out of an abundance of caution, the undersigned conducts that

analysis here and finds that the delegation provision is enforceable.

      As discussed more fully below in Part I.e.ii.2.a. of this discussion, infra,

Plaintiff asserts that the arbitration agreement is unconscionable because of its cost-

shifting provision, which states that an arbitrator “shall require the non‐prevailing

party to bear the cost of the arbitrator’s fees, provided however, that SCAD will

advance the cost of the arbitrator’s fees at the initiation of the arbitration, subject to

reimbursement by the employee following arbitration if the employee does not

prevail.” (Doc. 20-1 at 74). However, for the reasons explained below, Plaintiff’s

objection regarding the costs of arbitration that could be forced upon him if he did

not prevail at arbitration is premature. Part I.e.ii.2.a., infra. The Court cannot

conclude that Plaintiff is likely to be the non-prevailing party in an arbitration of the

merits of his claim. Therefore, the Court cannot determine whether the costs Plaintiff

might face at an arbitration on the merits of his claim will prohibit him from

vindicating his statutory rights under § 1981. Part I.e.ii.2.a, infra.

      On the other hand, the analysis of the cost-shifting provision as it pertains to

the delegation provisions is different. If Plaintiff is forced to arbitrate his challenges

to the enforceability of the arbitration agreement, he is likely to lose on those issues

at arbitration for the reasons laid out below in the rest of this decision. If the

arbitrator’s fees for arbitrating the enforceability of the contracted are shifted

                                           37
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 38 of 82




entirely to Plaintiff under the cost-shifting provision, he will have to pay an

estimated $8,400, according to his expert witnesses’ estimates. (Doc. 38-11 (“Szalai

Decl.”) ¶¶ 9-17). However, Plaintiff does not provide evidence that having to pay

$8,400 in arbitrator’s fees would prohibit him from being able to vindicate his §1981

claims. (Pl. Decl. ¶¶ 45-59). Instead, he makes the broader declaration that having

to shoulder the estimated $48,000 of arbitrator’s fees for arbitrating an arbitrability

dispute and the merits of his § 1981 claims would be financially disastrous for him

and cost prohibitive. (Id. ¶¶ 57-59). Thus, there is no evidence that arbitrating the

arbitrability dispute alone will prevent him from vindicating his right under § 1981.

Therefore, Plaintiff’s fleeting argument that the delegation provisions are

unconscionable to the extent they force him to arbitrate questions of arbitrability

must fail. If the District Judge concludes the delegation provisions do delegate

Plaintiff’s enforceability challenges, the delegation provisions are valid and

enforceable.

      e. Whether The Arbitration Agreement Is Enforceable

      Having determined that this Court has authority to resolve questions of the

arbitration agreement’s enforceability in this suit, the Court reaches Plaintiff’s

enforceability challenges. “The FAA allows state law to invalidate an arbitration

agreement, provided the law at issue governs contracts generally and not arbitration

agreements specifically.” Bess v. Check Express, 294 F.3d 1298, 1306 (11th Cir.

                                          38
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 39 of 82




2002) (citing Doctor’s Associates, Inc. v. Casarotto, 517 U.S. 681, 686-87 (1996)

(stating that “generally applicable contract defenses such as fraud, duress, or

unconscionability, may be applied to invalidate arbitration agreements”)). Plaintiff

argues that the arbitration agreement is unenforceable under Georgia contract law

because its terms are indefinite and it is procedurally and substantively

unconscionable. (Doc. 38 at 15-30). None of those arguments prevail.

             i. Indefiniteness

      Plaintiff first argues that the arbitration agreement is unenforceable because it

is too indefinite due to contradictory and incomprehensible terms. (Doc. 38 at 17).

Specifically, Plaintiff contends the ADRPA and Arbitration Procedures contain

contradictory and confusing terms regarding (1) the selection of an arbitrator; (2) the

location of the arbitration; (3) whether there are other phases in the agreed upon

alternative dispute resolution process; (4) how the parties should request arbitration

under the agreement; (5) whether the parties may file a complaint in federal or state

court; and (6) the rules and procedures governing an arbitration between the parties.

(Doc. 38 at 17-20). The undersigned takes those arguments in turn.

      “The law does not favor destruction of contracts on grounds of uncertainty.

Kitchen v. Insuramerica Corp., 296 Ga. App. 739, 743 (2009) (citing Fay v. Custom

One Homes, 276 Ga. App. 188, 190(1)(a), 622 S.E.2d 870 (2005)). “Nevertheless,

‘indefiniteness in subject matter so extreme as not to present anything upon which

                                          39
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 40 of 82




the contract may operate in a definite manner renders the contract void.’” Id. (citing

Fay, 276 Ga. App. at 190).

      Under Georgia law, a contract does not exist unless the parties agree on
      all material terms. A contract cannot be enforced if its terms are
      incomplete, vague, indefinite or uncertain. Thus, a court will not
      enforce an agreement where it is left to ascertain the intention of the
      parties by conjecture.

Id. (quoting Aukerman v. Witmer, 256 Ga. App. 211, 214(1) (2002)). “The test of an

enforceable contract is whether it is expressed in language sufficiently plain and

explicit to covey what the parties agreed upon.” Id. (quoting Kueffer Crane, etc., Inc.

v. Passarella, 247 Ga. App. 327, 330(3) (2000)).

      In Matthews v. Ultimate Sports Bar, LLC, No. 1:13-CV-2353-TWT, 2016 WL

4035655, at *2 (N.D. Ga. Jul. 28, 2016), the only case cited by Plaintiff to support

his indefiniteness argument, this Court held that an arbitration agreement was

unenforceable, in part because “multiple sections of the agreement [were] simply

incomprehensible.” For example, that agreement contained the following language:

“Unless except the agreement is governs the interpretation, enforcement and

proceedings by the Federal arbitration Act 9, USC 1, et se. To the extent that The

federal Arbitration Act is applicable or not to require arbitration of claims or claim,

GA law pertaining to the agreements can apply.” Id. Further, it stated: “If a part of

this agreement is unenforceable, held voidable by any court or arbitrator there's

nothing in this agreement that shall limit its enforceability of any parts of the

                                          40
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 41 of 82




agreement.” Id. Moreover, the agreement was “missing essential terms, including

how the parties selected an arbitrator and the governing authority…under which the

arbitration would be conducted.” Id. The terms Plaintiff identifies from the ADRPA

and Arbitration Procedures here do not make this agreement so indefinite that it is

unenforceable.

      Regarding the selection of an arbitrator, the ADRPA states the parties must

select “a retired federal judge unless a retired federal judge is not available to hear

the dispute in a timely manner.” (Doc. 20-1 at 74). The arbitrator also “must have a

minimum of 5 years [sic] experience in the substantive practice area of the Dispute

or in arbitrating similar types of Disputes.” (Id.). The Arbitration Procedures state,

      [E]ach party agrees that all proposed arbitrators shall have a minimum
      of five (5) years of previous experience or background in the subject
      matter of the arbitration. In addition, the parties agree that the proposed
      mediators shall include as many retired federal judges as possible who
      are available to hear the dispute in [a] timely manner.

(Arbitration Procedures, Part III.A.1) (emphasis added). Plaintiff asserts those

provisions are irreconcilably inconsistent. The Court disagrees. Both provisions

indicate that the parties agreed to choose a retired federal judge with at least five

years of experience in the substantive practice area of the dispute, if at all possible,

while allowing flexibility on that criteria depending on availability of retired federal

judges to arbitrate. The fact that the Arbitration Procedures mention “proposed




                                          41
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 42 of 82




mediators” is not enough to eviscerate the parties’ intent. It is obvious that term is

referring to the selection of the arbitrator. These terms are not contradictory.

      Regarding location of the arbitration, the ADRPA states, “At the sole election

of SCAD, any mediations or arbitrations conducted pursuant to this ADRPA shall

be held in Savannah, Georgia, Atlanta, Georgia, or the location where the employee

lives or works.” (Doc. 20-1 at 75). The Arbitration Procedures state, “The time and

place for the arbitration hearing shall be determined by the mutual agreement of the

parties. If the parties cannot agree, then the Arbitrator shall consult with the parties

and determine a time and place for the hearing.” (Arbitration Procedures, Part IX.B).

Those two terms are contradictory, as one says the location of the arbitration is

SCAD’s decision alone, while the other says the parties must mutually agree upon a

location. However, those contradictory terms are not enough to warrant voiding the

entire arbitration agreement, especially given the federal policy in favor of

arbitration. Instead, under the arbitration agreement’s severability clause discussed

above, the Court can sever one of those clauses and enforce the other. The

severability clause signals an intent from the parties that any provision deemed

unenforceable should be severed and the rest of the arbitration agreement should

survive.14 Therefore, to resolve the facially contradictory terms regarding the


14
   Plaintiff argues in his response brief that the Court should not sever any terms it
finds unenforceable. (Doc. 38 at 30-32). That is inconsistent with the parties’ intent,
as expressed in the severability clause. Further, the authority he cites to support his
                                           42
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 43 of 82




selection of the arbitration location, the Court will sever the term most favorable to

SCAD, as the drafter, and enforce the other. The Court will sever the term giving

SCAD sole power to decide the arbitration location. The parties shall decide the

location of arbitration by consent, and if they cannot mutually agree, the arbitrator

shall decide, according to Part IX.B of the Arbitration Procedures.15

      Next, Plaintiff argues that the terms of the agreement are contradictory

because the ADRPA “contemplates an internal review process followed by a

mediation when a party requests arbitration” while the Arbitration Procedures

“moved directly to the selection of an arbitrator when a request for arbitration is

submitted.” (Doc. 38 at 18). Those two parts of the agreement do not contradict one

another. The ADRPA does state that the parties should first try to resolve any dispute

between them through an internal review process at SCAD, then mediation, then


position is distinguishable. Unlike in Matthews, 2016 WL 4035655, at *3, where this
Court refused to sever unenforceable terms because it could not do so “without
rewriting the agreement with respect to essential aspects[,]” in this case, the Court
can sever one of the terms governing the selection of the arbitration location without
rewriting essential aspects of the agreement.
15
   The Court will not sever the provision of the ADRPA following the severed
provision, which states, “If SCAD elects to conduct a mediation or arbitration in a
location other than the city where the employee lives or works, the employee will be
reimbursed for reasonable and necessary travel expenses incurred for travel to the
mediation or arbitration, including mileage and hotel fees.” (Doc. 20-1 at 74). If
during the parties’ negotiations over the arbitration location SCAD insists that the
parties arbitrate in a city other than where Plaintiff lives or works, then SCAD would
be obligated to reimburse Plaintiff for travel expenses according to this provision. If
the arbitrator ultimately decides the location of the arbitration, the travel-
reimbursement provision will not apply.
                                            43
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 44 of 82




arbitration. (Doc. 20-1 at 73-74). Those three phases, together, form the entire

Alternative Dispute Resolution Policy and Agreement, or ADRPA. The Arbitration

Procedures do not contemplate the internal review process or mediation, because

they are the arbitration procedures. They are only applicable to the arbitration

process. It is no wonder that the Arbitration Procedures fail to mention the other

phases of the ADRPA.

      Plaintiff next argues the ADRPA and Arbitration Procedures contain

inconsistent terms regarding how Plaintiff should initiate arbitration. (Doc. 38 at 19).

The Arbitration Procedures require an employee to a submit a “Request for

Arbitration form” to the Vice President of Human Resources at SCAD in order to

initiate arbitration. (Arbitration Procedures, Part I.A.). That form must “identify the

legal claims to be arbitrated, the facts the party contends support such legal claims,

and the relief being sought.” (Id.). Meanwhile, the ADRPA states that an employee

should initiate the alternative dispute resolution process, which would begin with the

internal review by SCAD, by “making a written request to the vice president for

human resources” that “should provide a brief statement of the dispute and the

underlying facts.” Those two terms are not contradictory. They both require the party

seeking to resolve a dispute to initiate that process by submitting a form to SCAD’s

Vice President of Human Resources describing the dispute and the facts underlying

that dispute. The terms may be worded slightly differently, but they clearly are

                                          44
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 45 of 82




referencing the same step in the alternative dispute resolution process. These terms

are not contradictory and do not make the material terms of the contract too

indefinite to be enforced.

      Next, Plaintiff says the agreement is contradictory because the Arbitration

Procedures “contemplate[] a party filing a Complaint in federal or state court, at

which point SCAD would send the party a ‘Request to Arbitrate form[,]’” while no

such filing of a complaint is accounted for in the ADRPA. (Doc. 38 at 19). The

relevant Arbitration Procedures provision states:

      If a party files or causes to be filed in state or federal court a Complaint
      alleging a claim or cause of action which is subject to arbitration under
      the Alternative Dispute Resolution Policy and Agreement and these
      Procedures, the Vice President of Human Resources or a designated
      representative will notify the party or the party’s attorney (if an attorney
      has entered an appearance) of the existence of the Alternative Dispute
      Resolution Policy and Agreement, and request that the case be
      dismissed.

(Arbitration Procedures, Part II). The fact that the Arbitration Procedures

contemplate such a contingency but the ADRPA does not is irrelevant. The ADRPA

and Arbitration Procedures together make up the entire arbitration agreement, so the

fact that a term is mentioned in one document but not the other does not make the

two documents contradictory. It means the agreement mentioned that contingency

once, which is natural. This argument fails.




                                          45
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 46 of 82




      Lastly, Plaintiff argues that the terms discussing the procedural rules

governing arbitration between the parties are confusing and contradictory. (Doc. 38

at 19). The ADRPA states:

      The following rules and procedures shall apply to and be followed in
      the arbitration phase of the ADRPA: statutes of limitations and standing
      requirements applicable to the substantive claim, all rules of pleading,
      all rights to discovery, all rules of evidence, and all rights to resolution
      of the dispute by means of motions for summary judgment and
      judgment on the pleadings. To the extent that there exists a choice
      between federal or state rules and procedures as identified above,
      federal rules and procedures shall apply.

(Doc. 20-1 at 74). While that provision could be made clearer, it is reasonably read

as stating that any arbitration between the parties will be subject to the above-listed

rules and procedures, i.e., there will be a statute of limitations, standing rules, rules

governing pleadings, etc. Further, it is clear the parties intend for the federal version

of such rules to govern where possible. For example, in an arbitration of Plaintiff’s

§ 1981 claims, the statute of limitations for such claims will apply, federal standing

rules will apply because § 1981 is a federal statute that creates federal subject matter

jurisdiction, and so on. The language in the ADRPA is nothing like the relevant

language in Matthews, cited by Plaintiff, which was “simply incomprehensible” and

indecipherable. Matthews, 2016 WL 4035655, at *2. Plaintiff continues on, noting

that the ADRPA also states the “parties agree that the arbitration shall be conducted

in accordance with and subject to, the rules and procedures set forth in the

Arbitration Procedures[,]” (Doc. 20-1 at 74), but asserting that the Arbitration
                                           46
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 47 of 82




Procedures set out different rules and procedures that are not all consistent with the

Federal Rules of Civil Procedure. (Doc. 38 at 19-20). As an example, Plaintiff notes

that the Arbitration Procedures suggest that discovery during arbitration should “be

conducted in accordance with Rules 26 through 37 of the Federal Rules of Civil

Procedure” (Arbitration Procedures, Part VII.A.1.) but later sets out requirements

that Plaintiff sign broad records releases allowing current and past employees and

medical providers to release all records pertaining to him, depending on Plaintiff’s

underlying claim (Id., Part VII.B.1-2.). Plaintiff contends the records release

provisions are broader than and inconsistent with the Federal Rules of Civil

Procedure. (Doc. 38 at 20). That may be true, but it does not make the arbitration

agreement internally inconsistent. The general discovery provision cited by Plaintiff

in the Arbitration Procedures, when read in full, states, “Except as otherwise

provided by these Procedures, discovery and depositions shall be conducted in

accordance with Rules 26 through 37 of the [FRCP].” (emphasis added). Thus, to

the extent the records release provisions deviate from the FRCP, the parties

accounted for some variance from the federal discovery rules. Plaintiff cites no other

discrepancies between the FRCP and the Arbitration Procedures. In fact, in laying

out the rules governing arbitration, the Arbitration Procedures incorporate the

applicable FRCP or Federal Rule of Evidence. (See generally Doc. 35-1). Further,

the Arbitration Procedures state that they should generally be interpreted in a manner

                                         47
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 48 of 82




consistent with the FRCP and Federal Rules of Evidence, to the extent those are not

materially inconsistent with the express terms of the Arbitration Procedures or

ADRPA. (Arbitration Procedures, Part XVIII). That is consistent with the parties’

expressed intent in the ADRPA to have federal rules apply except as modified by

the parties’ agreement. The Court sees no fatal inconsistencies in the arbitration

agreement regarding the rules and procedures that are to govern arbitration between

these parties.

      For all those reasons, Plaintiff’s arguments that the arbitration agreement is

so indefinite that it cannot be enforced are unpersuasive.

             ii. Unconscionability

      Next, Plaintiff argues that the arbitration agreement is unenforceable because

it is procedurally and substantively unconscionable. (Doc. 38 at 16-17, 20-30). The

Georgia Supreme Court has stated, “[T]he basic test for determining

unconscionability is ‘whether, in the light of the general commercial background

and the commercial needs of the particular trade or case, the clauses involved are so

one-sided as to be unconscionable under the circumstances existing at the time of

the making of the contract.’” NEC Techs., Inc. v. Nelson, 267 Ga. 390, 391 (1996)

(quoting U.C.C. § 2-302 cmt.1). Unconscionable contracts have also been described

as “such an agreement as no sane man not acting under a delusion would make, and

that no honest man would take advantage of.” Id., n.2 (quoting R.L. Kimsey Cotton

                                         48
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 49 of 82




Co. v. Ferguson, 233 Ga. 962, 966(3) (1975)). Georgia law recognizes both

procedural and substantive unconscionability. Id. at 391-94 & n.6.16 Under Georgia

law, “[p]rocedural unconscionability addresses the process of making the contract,

while substantive unconscionability looks to the contractual terms themselves.” Id.

at 392 (citations omitted). Some factors considered in determining procedural

unconscionability are “the age, education, intelligence, business acumen and

experience of the parties, their relative bargaining power, the conspicuousness and

comprehensibility of the contract language, the oppressiveness of the terms, and the

presence or absence of a meaningful choice.” Id. “As to the substantive element of

unconscionability, courts have focused on matters such as the commercial

reasonableness of the contract terms, the purpose and effect of the terms, the




16
   Defendant asserts that Georgia law requires a showing of both procedural and
substantive unconscionability. (Doc. 20-1 at 9-10). This Court has stated as much on
several occasions, relying on the same language from NEC Technologies. Fatt Katt
Enter., Inc. v. Rocksolid Granite, No. 1:17-cv-1900-MHC, 2018 WL 482461, at *6
n.3 (N.D. Ga. Jan. 11, 2018) (citing NEC Techs., 267 Ga. at 394 n.6), Apollo MD
Bus. Servs., LLC v. Amerigroup Corp.(Delaware), No. 1:16-cv-4814-RWS, 2017
WL 10185527, at *5 (N.D. Ga. Nov. 27, 2017) (same), and Clark v. Aaron’s, Inc.,
914 F.Supp.2d 1301, 1310 (N.D. Ga. 2012) (Story, J.) (same). It is unclear whether
NEC Technologies actually requires both types of unconscionability, as the court in
that case found neither was present. NEC Techs., 267 Ga. at 394 (“We pretermit the
issue whether the lack of procedural unconscionability in this case is determinative
of the unconscionability issue because we conclude that there is likewise an absence
of evidence to support a finding of substantive unconscionability.”). The Court need
not resolve that question here, as neither procedural nor substantive
unconscionability is present.
                                          49
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 50 of 82




allocation of the risks between the parties, and similar public policy concerns.” Id.

The Court analyzes Plaintiff’s arguments regarding each below.

                   1. Procedural Unconscionability

      Plaintiff contends the arbitration agreement is procedurally unconscionable

due to the indefiniteness of the terms and other facts regarding the agreement’s

conspicuousness, particularly that “the ADRPA is buried and undistinguishable

from 141 other entries in the 64-page handbook, [] the ADRPA itself is in miniscule

print with no subject headings”, and the “link to the [Arbitration Procedures] itself

is buried within the ADRPA and is not distinguished from the remaining text.” (Doc.

38 at 21). Additionally, Plaintiff asserted in his response to the Second MTCA that

(1) SCAD’s HR staff “rushed” him and the other orientees through the onboarding

documentation at orientation, which included the Acknowledgment alerting him to

the existence of the ADRPA, (2) the HR staff failed to specifically call his attention

to the Acknowledgment, (3) SCAD did not provide him with a signed copy of his

Acknowledgment, but took it away after he signed it, and (4) SCAD never provided

Plaintiff with a paper copy of the ADRPA or Arbitration Procedures. (Doc. 26 at 20-

21). None of those arguments convince the Court that the arbitration agreement is

procedurally unconscionable.

      First, the Court has already addressed Plaintiff’s indefiniteness arguments and

found them to be unavailing. Second, the terms of the agreement are quite

                                         50
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 51 of 82




conspicuous, despite Plaintiff’s contention to the contrary. The ADRPA is located

on pages thirty-four through thirty-six of a sixty-four-page, single-spaced handbook,

but it is clearly set off and identified by a bolded heading in larger font than the

surrounding text. (Doc. 20-1 at 73). Further, the staff handbook has an easily

readable table of contents at the beginning of the document that lists the page on

which the ADRPA begins, making it easy for a reader to find the ADRPA. (Id. at

37). Moreover, the ADRPA is not in “miniscule” print, but is printed in a reasonable

size that is not difficult to read. While Plaintiff is correct that the hyperlink to the

Arbitration Procedures is not set off from the rest of the text in the ADRPA, it is just

as conspicuous as the rest of the text. The text of the hyperlink is the same size as

the surrounding text, and it is even at the end of a paragraph, making it harder to

miss than if it were in the middle of a paragraph with unbroken text on either side.

Even still, the Acknowledgment form Plaintiff signed at his orientation specifically

mentions that the ADRPA is in the handbook, notes that the ADRPA is binding on

Plaintiff, states that he will read and comply with the ADRPA, and explains how he

could access the handbook through SCAD’s intranet. (Id. at 104). Based on the

Acknowledgment, Plaintiff had no reason to have been unaware of the ADRPA’s

existence. There is no evidence to support Plaintiff’s assertion that the terms of the

agreement were inconspicuous.




                                          51
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 52 of 82




      Thirdly, the Court is not concerned by the circumstances surrounding

Plaintiff’s signing of the Acknowledgment or his ability to access the handbook

containing the ADRPA at orientation or afterwards. Although Plaintiff says he

subjectively felt “rushed” through his onboarding paperwork by the HR staff at his

orientation, that is not enough to demonstrate unconscionability. He may have felt

rushed, but he presents no evidence to suggest the HR staff rushed him intentionally

to deceive or mislead him. He does not state that they ever denied a request by him

to slow down their presentation or further explain any of the onboarding documents.

Further, the fact that SCAD’s employees failed to call his attention to the

Acknowledgment or the ADRPA is of no relevance. The fact of the matter is Plaintiff

still signed the Acknowledgement, signaling he read it and agreed with its contents.

Further, SCAD’s employees may have taken away his copy of the Acknowledgment

after he signed it, thereby removing from his possession the only document

explaining how to access the ADRPA, but at that point he had already signed the

Acknowledgment stating that he had been given access to the handbook via

MySCAD or a hard copy. The Court has no reason to believe that Plaintiff would

not have been given a chance to access the handbook via MySCAD before

submitting his signed Acknowledgment if he had so desired. Finally, the fact that he

was apparently not provided with paper copies of the ADRPA or Arbitration

Procedures before or during his employment with SCAD is also irrelevant, given

                                        52
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 53 of 82




that he signed the Acknowledgment stating he had the opportunity to access the staff

handbook containing the ADRPA electronically at his orientation, which would have

led him to an electronic copy of the Arbitration Procedures. In sum, Plaintiff’s

abdication of his responsibility to seek out and read the arbitration agreement before

assenting to it, despite being given the opportunity to do so, does not make the

agreement procedurally unconscionable.

                    2. Substantive Unconscionability

      Plaintiff asserts the arbitration agreement is substantively unconscionable

because of the allegedly prohibitive costs arbitration would impose on him, the lack

of mutuality in the agreement, the “unrepresentative pool of arbitrators” from which

he would have to choose, and its confidentiality provisions. (Doc. 38 at 22-30).

Those arguments fail.

                          a. Costs Of Arbitration

      Plaintiff argues that the arbitration agreement is unconscionable because the

costs he could endure under the ADRPA’s cost-shifting provision could prohibit him

from effectively vindicating his claims under § 1981. (Doc. 38 at 22-25). This

argument by Plaintiff fails because the cost-shifting is too speculative at this time.

      The ADRPA has a cost-shifting provision that states:

      Attorney's fees, expert witness fees, and costs shall be paid by the
      respective parties unless the arbitrator awards otherwise. In making
      his/her award, the arbitrator shall require the non‐prevailing party to
      bear the cost of the arbitrator’s fees, provided however, that SCAD will
                                          53
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 54 of 82




      advance the cost of the arbitrator’s fees at the initiation of the
      arbitration, subject to reimbursement by the employee following
      arbitration if the employee does not prevail.

(Doc. 20-1 at 74).

      Plaintiff argues that provision will prohibit him from effectively vindicating

his § 1981 claims, because he cannot afford to pay the potential arbitrator’s fees if

he does not prevail at arbitration. He submits a declaration from Imre Szalai

(“Szalai”), a law professor and purported expert in arbitration, who estimates that

the arbitrator’s fees associated with arbitrating arbitrability in this case could range

from $2,100 to $8,400, and the fees for arbitrating the merits of this case could cost

up to $39,600. (Doc. 38 at 22-23 (citing Szalai Decl. ¶¶ 9-17, 23)). Additionally,

Plaintiff cites to his own sworn declaration describing his family’s financial

circumstances and stating, based on Szalai’s estimates, that the $48,000 of potential

arbitrator’s fees that he could be forced to pay if he is made to arbitrate the

arbitrability and merits of this case would be “financially disastrous” for him and his

family. (Pl. Decl. ¶¶ 45-59). Finally, Plaintiff argues the cost-shifting provision is

unconscionable because there is reason to believe SCAD “weaponizes” it against

employees in arbitration to intimidate claimants into abandoning their claims, citing

the declaration of Darnell Holcomb (“Holcomb”), a former SCAD employee who

arbitrated a race discrimination claim against SCAD under the ADRPA in 2019 and

2020. (Doc. 38 at 24-25; Doc. 38-9 (“Holcomb Decl.”) ¶¶ 1-9)). Holcomb attaches


                                          54
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 55 of 82




excerpts from his deposition in his arbitration showing that SCAD’s counsel asked

him to confirm on the record that he understood the consequences of the cost-shifting

provision of the ADRPA. (Holcomb Decl. ¶ 9; Doc. 38-10 at 9-11). Holcomb then

states that his estimated exposure for the costs of arbitration was up to $200,000,

which he would not have been able to afford. (Holcomb Decl. ¶¶ 10-11). Thus, he

declares he accepted a settlement of his claims that he would not have accepted but

for the ADRPA’s cost-shifting provision. (Id. ¶¶ 12-14).

      “[A]n arbitration agreement is not unenforceable merely because it may

involve some ‘fee-shifting.’” Musnick v. King Motor Co. of Fort Lauderdale, 325

F.3d 1255, 1259 (11th Cir. 2003). The party seeking to avoid arbitration under an

agreement containing a fee-shifting provision “has the burden of establishing that

enforcement of the agreement would ‘preclude’ him from ‘effectively vindicating

[his] federal statutory right in the arbitral forum.’” Id. (quoting Green Tree Fin.

Corp.- Alabama v. Randolph, 531 U.S. 79, 90 (2000)). The party seeking to avoid

arbitration must “demonstrate that he is likely to bear such [prohibitive arbitration]

costs.” Id. at 1258 (emphasis in original) (alterations added). In Musnick, the

Eleventh Circuit held that the plaintiff there had not met his burden of demonstrating

that he was likely to bear the costs of arbitration under the “loser pays” provision in

that arbitration agreement, because he had only submitted a vague affidavit saying

that he would be unable to pay any potential attorneys’ fee award against him. Id. at

                                          55
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 56 of 82




1259-60. The court there found that Musnick had failed to make a sufficient record

on the issue of prohibitive costs. Id. at 1260. Importantly, the court found there was

no record that could have been made, because of the nature of the “loser pays”

provision. Id. at 1261. Whether Musnick would eventually end up paying attorneys’

fees “depend[ed] entirely on whether he prevails in arbitration.” Id. Further, if he did

not prevail at arbitration, the circuit court noted there was still only a possibility that

he would be liable for costs and fees under the fee-shifting provision, despite the

mandatory language of the provision, citing authority from other circuit courts

indicating arbitrators can “determine whether contractual limitations on remedies

are enforceable.” Id. at 1261 & n.7 (citations omitted). Moreover, as the Musnick

court noted, a party can seek judicial review of an arbitration award that the party

believes is excessive or deprives him of his statutory rights. Id. at 1261 (citing First

Options, 514 U.S. 938). Therefore, the circuit court held that “[a]rbitration is the

correct initial forum for the [plaintiffs] to air their objection to the [loser pays]

attorney’s fees provision in the arbitration agreement.” Id. at 1261-62 (citing

Thompson v. Irwin Home Equity Corp., 300 F.3d 88, 92 (1st Cir. 2002)). “Once the

arbitrator has reached the issue of costs and fees, those items will no longer be

speculative, and any issue presented thereby will be ripe for decision.” Id. at 1262.

      Here, Plaintiff goes further than the plaintiff in Musnick, submitting a

declaration from an expert estimating the arbitrator’s fees that might be shifted to

                                            56
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 57 of 82




him if he does not prevail at arbitration. However, Plaintiff’s argument that the cost-

shifting provision here would prohibit him from vindicating his statutory rights is

just as speculative as that argument in Musnick, because like in Musnick, Plaintiff

will only take on those arbitrator’s fees if he does not prevail at arbitration.

Therefore, even taking as true Plaintiff’s evidence regarding the estimated costs of

the arbitrator’s fees he would bear if he did not prevail, and taking as true his

declarations regarding his ability to pay such estimated fees, there is simply no way

for the Court to know whether Plaintiff is likely to pay those fees. The Court cannot

predict whether Plaintiff is likely to prevail on the merits of his § 1981 claims.

Musnick, 325 F.3d at 1258-62. Thus, the Court cannot say at this stage that the cost-

shifting provision in the ADRPA will prevent Plaintiff from vindicating his statutory

rights, and cannot find it unconscionable. Further, as the Musnick court noted, it is

not guaranteed that an arbitrator would even be bound by the language of the cost-

shifting provision, Id. at 1261 n.7, which makes it even more difficult to speculate

whether Plaintiff is likely to pay the allegedly prohibitive arbitrator’s fees. Even still,

as noted in Musnick, if Plaintiff were forced to arbitrate his claims, did not prevail

at arbitration, and was ordered to pay the arbitrator’s fees, Plaintiff could appeal that

award to a court. Id. at 1261.17 Only then would it be appropriate for this Court to


17
  Plaintiff asserts, without citation, that the allocation of arbitrator’s fees would not
be appealable to a court of law. (Doc. 38 at 23). The undersigned does not see such
a restriction in the terms of the agreement. In fact, the Arbitration Procedures say
                                            57
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 58 of 82




review such a decision. As a result, the Court must reject Plaintiff’s argument that

the “loser pays” cost-shifting provision here is unconscionable.

      Plaintiff’s arguments based on Holcomb’s declaration do not make the cost-

shifting any less speculative or change the above analysis in any way. First, SCAD’s

apparent intent to seek enforcement of the cost-shifting provision in Holcomb’s

arbitration proceedings has no bearing on whether SCAD will attempt to enforce the

cost-shifting provision here or, more importantly, the likelihood that Plaintiff will

prevail on the merits of his case at arbitration. Thus, Holcomb’s declaration is

irrelevant in determining whether the cost-shifting provision of the ADRPA is

unconscionable. Second, Holcomb’s decision to settle his claims against SCAD due

to his fear of having to bear the burden of arbitration costs have nothing to do with

Plaintiff’s own risk calculus. Holcomb’s sworn estimated exposure due to the cost-

shifting provision of $200,000 is much higher than Plaintiff’s estimated exposure

according to Szalai. Further, there is no way to compare the personal financial

situations of Holcomb and Plaintiff, making Holcomb’s declaration completely

unhelpful in determining whether the cost-shifting provision will prevent Plaintiff

from vindicating his statutory rights.




that the awards and orders of an arbitrator in this case would be subject to appeal to
a second arbitrator, whose decision “may be enforced, vacated or modified by a court
as provided by law.” (Arbitration Procedures, Part XI.A-C).
                                          58
          Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 59 of 82




      For those reasons, Plaintiff’s challenge to the enforceability of the arbitration

agreement based on the cost-shifting provision mut fail.

                           b. Lack Of Mutuality

      Plaintiff also argues the agreement is substantively unconscionable because it

is non-mutual in the following ways: (1) giving SCAD, but not Plaintiff, the option

to bypass the pre-arbitration internal review and mediation phases of the ADRPA;

(2) giving SCAD, but not Plaintiff, the option to ignore the thirty-day notice

requirement to indicate a dissatisfaction with a phase of the ADRPA and a desire to

move to the next phase or appeal an arbitrator’s decision to a second arbitrator; (3)

giving SCAD the sole authority to select the arbitration forum; (4) giving the parties

the ability to bring claims for injunctive or other equitable relief in court, but only in

disputes that Plaintiff asserts are more likely to be brought by SCAD. (Doc. 38 at

25-28).

      In Caley, the Eleventh Circuit, in applying Georgia contract law to the

enforceability of an arbitration agreement, found that agreement was not

unconscionable despite provisions requiring claims that would typically be brought

by employees to be arbitrated while allowing other claims that would typically be

brought by the employer to be litigated in court. Id. at 1378. In doing so, the Caley

court found the provisions in question were still mutual because “both parties are

required to arbitrate covered claims, and neither is required to arbitrate non-covered

                                           59
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 60 of 82




claims.” Id. Regardless, the Court noted, “Georgia law provides that ‘an arbitration

provision [is] not unconscionable because it lack[s] mutuality of remedy.’” Id.

(citing Saturna v. Bickley Const. Co., 252 Ga. App. 140, 141 (2001)). There were

other asymmetries in the dispute resolution policy in Caley, such as provisions

requiring the employee but not the employer to exhaust dispute resolution steps prior

to arbitration, and provisions imposing thirty-day notice requirements for moving a

dispute from one phase of the dispute resolution process to the next on the employee

but not the employer. Id. at 1379. The Caley court found those provisions were

“reasonably designed to resolve claims as quickly and efficiently as possible,

consistent with the goals of arbitration, and not so offensive as to be

unconscionable.” Id.

      Plaintiff’s concerns regarding the mutuality of this arbitration agreement are

similar to those expressed by the plaintiff in Caley. Therefore, like in Caley, they do

not require a finding of unconscionability here. Assuming it is true that under the

ADRPA the parties can only seek preliminary injunctive or equitable relief in court

when the underlying claims are of the type that would normally be brought by

SCAD, under Caley, that provision is not unconscionable. When certain types of

legal claims are involved, “the employee or SCAD may…petition any court of

competent jurisdiction and seek interim, injunctive or other equitable relief[,]” but

neither can do so when other types of legal claims are involved. (Doc. 20-1 at 74-

                                          60
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 61 of 82




75). Thus, that provision is mutual. Further, even if it were not mutual, as noted in

Caley, Georgia law does not hold an arbitration provision unconscionable because

of non-mutuality of remedy. Caley, 428, F.3d at 1378.

      It is true that the ADRPA allows SCAD but not Plaintiff to bypass one or more

steps of the ADRPA prior to arbitration. (Doc. 20-1 at 74). It is not true, as Plaintiff

asserts, that SCAD is permitted to ignore the thirty-day deadline after each stage of

the ADRPA for notifying Plaintiff that it is not satisfied with the resolution of that

stage and would like to proceed to the next stage. The ADRPA states that if the

internal review process fails to resolve a dispute, “at the election of either the

Employee or SCAD within the time herein provided,” the dispute can be referred to

mediation. (Id.). If mediation does not resolve the dispute, then the dispute may be

submitted to arbitration “at the election of either the Employee or SCAD within the

time herein provided.” (Id.). Later, it states, “SCAD and the employee shall each

have thirty (30) calendar days from the end of each step in this ADRPA process to

notify the other that they are not satisfied with the resolution at that stage of the

ADRPA and wish to proceed to the next stage of the process.” (Id.). Those provisions

cannot be read any other way than requiring SCAD and Plaintiff to both abide by

the same thirty-day deadline for notifying the other if they are unsatisfied with the

resolution at any stage of the ADRPA. However, even if that obligation applied only

to Plaintiff, it would not be enough to make this agreement unconscionable, even

                                          61
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 62 of 82




when combined with the fact that SCAD is unilaterally allowed to skip any pre-

arbitration phase of the ADRPA. As the Eleventh Circuit said in Caley regarding

similarly asymmetrical provisions, they “are reasonably designed to resolve claims

as quickly and efficiently as possible, consistent with the goals of arbitration,” and

they are not nearly so offensive as to shock the conscience and make this agreement

unconscionable.

      Lastly, the provision of the ADRPA giving SCAD sole discretion over the

arbitration’s location does not make the agreement unconscionable. Importantly, this

argument is moot, because, as noted above in the discussion of Plaintiff’s

“indefiniteness” arguments, this term has been severed from the agreement.

Additionally, this provision was not unconscionable to begin with. It required SCAD

to choose between Savannah, Georgia; Atlanta, Georgia; or the city where Plaintiff

lives or works. (Doc. 20-1 at 74). If SCAD were to choose a location other than

where the employee lives or works, the provision required SCAD to reimburse the

employee for reasonable and necessary travel expenses. (Id.). The severed provision

giving SCAD the sole authority to select the location of the arbitration does not

concern the Court or bring Plaintiff any closer to the high threshold for proving

unconscionability.

      For those reasons, the agreement is not so one-sided so as to make it

unconscionable and unenforceable.

                                         62
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 63 of 82




                          c. Selection Of The Arbitrator

      Plaintiff also contends the arbitration agreement is unconscionable because

the “provision designating an unrepresentative and racially homogenous pool of

potential arbitrators is contrary to public policy.” (Doc. 38 at 28). Plaintiff is

referring to the ADRPA provision stating the arbitrator “must be a retired federal

judge unless a retired federal judge is not available to hear the dispute in a timely

manner.” (Doc. 20-1 at 74). He asserts that there are only two retired federal judges

available to arbitrate in the state of Georgia, both of whom are white, citing to

allegations in his First Amended Complaint. (Doc. 38 at 28). According to Plaintiff,

the counties that make up the Northern District of Georgia are 35.5% Black. (Id.).

Thus, Plaintiff contends, the provision showing a preference that the potential

arbitrator be a retired federal judge “denies [him] a meaningful opportunity to have

his claims heard by a panel of arbitrators reflecting his background” in violation of

public policy. (Id. at 28-29) (quoting Batson v. Kentucky, 476 U.S. 79 (1986) (stating

“[jury] selection procedures that purposefully exclude black persons from juries

undermine public confidence in the fairness of our system of justice.”) and citing

Flanders v. State, 279 Ga. 35, 42 (2005) (Benham, J., concurring) (noting that “the

right to a jury drawn from a fair cross-section of the community” is ultimately a right

that belongs to the community and not just the individual)). This argument is flawed

in several ways.

                                          63
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 64 of 82




      First, the agreement does not strictly limit the pool of potential arbitrators to

retired federal judges, but exhibits a strong preference for retired federal judges and

allows for a different arbitrator to be selected in certain circumstances. (Doc. 20-1

at 74; Arbitration Procedures, Part III.A.1). Second, Plaintiff cites no authority for

the notion that he has a right to an arbitrator selected from a pool that is

representative of the demographics of his community, analogous to his right to select

a jury from a representative cross-section of the community at trial. Therefore, the

provision in question does not violate public policy on the basis asserted by Plaintiff.

                           d. Confidentiality

      Lastly, Plaintiff argues the agreement is unconscionable because of its

confidentiality provision. (Doc. 38 at 29-30). This argument fails as well.

      The ADRPA states that all information and documents related to all stages of

the ADRPA shall remain confidential and not be disclosed to any third party,

including the media or other SCAD employees. (Doc. 20-1 at 75). The Arbitration

Procedures contain an identical provision pertaining specifically to arbitration

between the parties. (Arbitration Procedures, Part XIII). In Caley, the Eleventh

Circuit recognized that confidentiality provisions in arbitration agreements between

employees and employers are more favorable to employers, as they are more likely

to be “repeat players” in the arbitration system. However, because both sides might

desire confidentiality in many employment claims, such provisions are “not so

                                          64
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 65 of 82




offensive as to be invalid.” Caley, 425 F.3d at 1378-79 (citing Rosenberg v. Merrill,

Lynch, Pierce, Fenner & Smith, Inc., 170 F.3d 1, 8 n.4 (1st Cir.1999); Iberia Credit

Bureau, Inc. v. Cingular Wireless, LLC, 379 F.3d 159, 175 (5th Cir. 2004)). Plaintiff

acknowledges that holding from Caley, but asserts that the confidentiality provisions

here, when combined with the other concerns he raises, are enough to make the entire

arbitration agreement unconscionable. However, as explained in detail here, the

Court does not buy any of Plaintiff’s other unconscionability arguments. The

confidentiality provisions alone are not enough to invalidate the entire arbitration

agreement.

      In sum, Plaintiff has failed to show that any part of the arbitration agreement

is substantively unconscionable. The agreement remains enforceable.

      f. Whether SCAD Waived Its Right To Arbitrate

      After his unconscionability arguments, Plaintiff contends SCAD’s motion

should be denied because it has waived its right to arbitrate the claims here by “its

failure to follow its own procedures and by pursuing confidentiality agreements with

a key witness” to Plaintiff’s case. (Doc. 38 at 32). Specifically, Plaintiff accuses

Defendant of attempting to silence at least one former member of its fishing team,

Pescitelli, by asking him to sign a confidentiality agreement in exchange for

continuing to receive an athletic scholarship. (Id. at 7-8, 32-34). Plaintiff even

presents the alleged confidentiality agreement SCAD offered Pescitelli in July 2019,

                                         65
        Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 66 of 82




which Pescitelli did not sign. (Doc. 38-7). Plaintiff asserts that conduct by SCAD

raises the question of whether it attempted to silence other former members of

SCAD’s fishing teams who would be potential witnesses in this dispute through

confidentiality agreements. (Doc. 38 at 33-34). If any former fishing team members

signed those agreements, Plaintiff claims they would be barred from voluntarily

cooperating with his investigation prior to an arbitration hearing. (Id. at 33). Because

arbitrators in this circuit cannot compel pre-hearing discovery from non-parties

under the FAA, Managed Care Advisory Group, LLC v. CIGNA Healthcare, Inc.,

939 F.3d 1145, 1159 (11th Cir. 2019), confidentiality agreements between SCAD

and potential witnesses would effectively prevent Plaintiff from being able to

conduct any pre-arbitration hearing investigation related to former members of his

fishing teams. (Id. at 33-34). Plaintiff analogizes this alleged conduct by Defendant

to interference with third-party discovery in litigation and asks that the Court find

that Defendant waived its right to enforce the arbitration agreement. (Id. at 34). In

its reply brief supporting its Second MTCA, SCAD contends Plaintiff’s evidence

regarding the settlement agreement offered to Pescitelli is inadmissible hearsay.

(Doc. 28 at 4). Defendant also denies that it has attempted to limit Plaintiff’s access

to witnesses in arbitration and asserts that the type of misconduct Plaintiff accuses

SCAD of is not the type of conduct that results in waiver of a party’s right to

arbitrate. (Id. at 4-5).

                                          66
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 67 of 82




      Plaintiff’s assertion that Defendant waived its right to arbitrate fails, because

SCAD’s alleged misconduct is not the type of conduct that usually results in waiver

of the right to arbitrate, Plaintiff was not prejudiced by that conduct, and Plaintiff

has not convinced the Court that Defendant intended to limit his ability to access

witnesses during arbitration.

      “[B]ecause federal law favors arbitration, any party arguing waiver of

arbitration bears a heavy burden of proof.” Gutierrez v. Wells Fargo Bank, NA, 889

F.3d 1230, 1236 (11th Cir. 2018) (quoting Stone v. E.F. Hutton & Co., 898 F.2d

1542, 1543 (11th Cir. 1990) (per curiam)). In analyzing whether a party has waived

its arbitration rights, the Eleventh Circuit first considers whether “under the totality

of the circumstances, the party has acted inconsistently with the arbitration right.”

Id. (quoting Ivax Corp. v. B. Braun of Am., Inc., 286 F.3d 1309, 1315-16 (11th Cir.

2002)). The “key factor in decided this is whether a party has ‘substantially

invoke[d] the litigation machinery prior to demanding arbitration.’” Id. (quoting

S&H Contractors v. A.J. Taft Coal Co., Inc., 906 F.2d 1507, 1514 (11th Cir. 1990)).

Second, the Court must consider whether the offending party’s conduct “has in some

way prejudiced the other party.” Id. (quoting Ivax, 286 F.3d at 1316). The purpose

of the waiver doctrine is to prevent “outcome-oriented gamesmanship” in which a

party “elects to forego arbitration when it believes that the outcome in litigation will

be favorable to it, proceeds with extensive discovery and court proceedings, and then

                                          67
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 68 of 82




suddenly changes course and pursues arbitration when its prospects of victory in

litigation dim.” Id.

      Here, the conduct Plaintiff relies upon to support his contentions regarding

waiver does not indicate Defendant has invoked the machinery of litigation prior to

attempting to compel arbitration. Attempting to obtain a release of claims from a

former student-athlete who was threatening to file suit against SCAD at least one

year prior to SCAD even learning of Plaintiff’s claims is simply not inconsistent

with Defendant’s intent to arbitrate this suit by Plaintiff. Further, Plaintiff has not

shown he was prejudiced by Defendant’s attempt to have Pescitelli sign a

confidential release of claims. In fact, plaintiff concedes Pescitelli did not actually

sign the release. (Pl. Decl. ¶ 38). Thus, no matter Defendant’s intent in offering that

agreement to Pescitelli, he is not actually prevented from voluntarily participating in

Plaintiff’s investigation of his case. Without a showing of prejudice, Plaintiff’s

waiver argument fails.

      Plaintiff’s attempt to analogize SCAD’s conduct to witness interference in

litigation does not change the outcome. In the cases cited by Plaintiff, where parties

were found to have interfered in some way with a witness’s ability to participate in

court proceedings, the courts did not impose waiver on the offending parties and did

not summarily dispose of issues in favor of the injured parties. See WellStar Health

Sys., Inc. v. Kemp, 324 Ga. App. 629, 635 (2013) (affirming trial court’s decision to

                                          68
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 69 of 82




disqualify attorney who pressured non-party witness to not testify); Residential

Constructors, LLC v. ACE Prop. & Cas. Ins. Co., No. 2:05-CV-01318-BESGWF,

2006 WL 1582122, at *3 (D. Nev. June 5, 2006) (ordering the plaintiff not to instruct

non-party witness not to speak with opposing counsel); U.S. v. B&M Used Cars, 114

F.R.D. 55, 56 (W.D.N.C. 1987) (sanctioning a U.S. attorney for instructing

witnesses not to appear for a deposition). Even in WellStar, where WellStar’s

attorneys intentionally interfered with an expert witnesses’ appearance and the

opposing party was prejudiced, the Georgia Court of Appeals found the trial court

abused its discretion by striking WellStar’s answer and entering default judgment.

WellStar Health Systems, 324 Ga. App. at 639-40. Therefore, even if Plaintiff had

actually proven that SCAD participated in conduct akin to witness interference, the

Court would not be compelled to find SCAD had waived its right to arbitrate.

      g. Whether Claims Are Arbitrable Under the Agreement

      Based on all of the above analysis, the parties have entered into a valid and

enforceable agreement to arbitrate. Next, the Court must assess whether “the issue

[sought to be arbitrated] is arbitrable under the agreement[.]” Lomax, 228 F.Supp.2d

at 1362. Defendant seeks to arbitrate Plaintiff’s § 1981 claims. The ADRPA states

that it applies to “all legal claims or controversies between SCAD and any employee,

regardless of type.” (Doc. 20-1 at 73). That broad language appears to encompass §

1981 claims of discrimination and retaliation. Plaintiff does not contend otherwise.

                                         69
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 70 of 82




(See Doc. 38). Therefore, the issues sought to be arbitrated are arbitrable under the

agreement.

      h. Whether Plaintiff Has Failed Or Refused To Arbitrate Claims

      Lastly, to compel arbitration, the Court must assess whether Plaintiff has

failed or refused to arbitrate his claims that are covered by the arbitration agreement.

Lomax, 228 F.Supp.2d at 1362. Indeed, there is evidence that SCAD’s counsel asked

Plaintiff to submit his claims to arbitration on multiple occasions, but he refused.

(Doc. 20-1 at 105; Doc. 38-13; 38-14). With that, SCAD has met its burden on its

motion to compel arbitration. Thus, the Court can and should compel arbitration of

Plaintiff’s § 1981 claims.

      i. SCAD’s Request For Sanctions

      Before concluding, the Court must address SCAD’s cursory request for

attorneys’ fees incurred in enforcing the ADRPA and vague request for sanctions

against Plaintiff under Rule 11 of the Federal Rules of Civil Procedure (“Rule 11”).

(Doc. 20-1 at 25 & n.15). Defendant does not lay out the standard for sanctions under

Rule 11, much less explain how Plaintiff’s conduct meets that standard. Further, any

motion for sanctions under Rule 11 must be filed separately from any other motion,

and it cannot be filed with the Court until the allegedly offending party has been

served with a copy and been given twenty-one days to withdraw or correct the filing

in question. FED. R. CIV. P. 11(c)(2). To the extent SCAD is seeking Rule 11

                                          70
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 71 of 82




sanctions against Plaintiff or his counsel, he has not filed a separate motion for

sanctions or proof that he provided Plaintiff with the twenty-one-day safe harbor

required by the rule. Thus, any such request is denied. Defendant does not elaborate

on any other legal basis for awarding it attorneys’ fees in this case. Thus, this request

for fees is denied.

       j. Dismissal Or Administrative Stay

       Lastly, given the conclusion that Plaintiff should be compelled to arbitrate all

of his claims, the Court must decide whether to dismiss those claims from this court,

as Defendant requests, or administratively stay the case. (See Doc. 20-1 at 24).

Plaintiff does not put forth any arguments regarding the proper disposition of his

claims in this Court if SCAD’s motion to compel arbitration is granted. (See Doc.

38).

       The Eleventh Circuit has previously held that 9 U.S.C. § 3 of the FAA requires

courts to stay proceedings pending arbitration if parties are compelled to arbitrate.

McGhee v. Mariner Fin., LLC, No. 1L19-cv-934-TWT-JFK, 2019 WL 5491825, at

*6 (N.D. Ga. Aug. 7, 2019), report and recommendation adopted by 2019 WL

5491811 (N.D. Ga. Sept. 5, 2019), (citing Bender v. A.G. Edwards & Sons, Inc., 971

F.2d 698, 699 (11th Cir. 1992)). However, since Bender, the Eleventh Circuit has

clarified that the mandate in § 3 of the FAA only applies to “any suit or

proceeding…brought…upon any issue referable to arbitration” and only if the

                                           71
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 72 of 82




parties ask the court for a stay: “the court…shall on application of one of the parties

stay the trial.” Id. (citing Utd. Steel, Paper and Forestry, Rubber, Mnfg, Energy,

Allied Industrial and Service Works Intern’l Union AFL-CIO-CLC v. Wise Alloys,

LLC, 807 F.3d 1258, 1268 (11th Cir. 2015) (quoting 9 U.S.C. § 3, adding emphasis)).

Further, since Bender, the Eleventh Circuit has affirmed at least one decision by this

Court to dismiss a case where all the claims were covered by an arbitration

agreement. See Caley, 428 F.3d at 1379 (affirming dismissal of claims subject to

arbitration). Therefore, because Plaintiff’s § 1981 claims are subject to arbitration

and neither party requests that the Court stay the proceedings pending arbitration,

the Court should dismiss Plaintiff’s First Amended Complaint. See Rayburn v.

WebBank, No. 1:18-cv-3127-JPB-CMS, 2019 WL 11499504, at *2 (N.D. Ga. Jul.

17, 2019) (recommending the plaintiff be compelled to arbitrate all claims and the

case be dismissed), report and recommendation adopted by 2019 WL 1149501

(N.D. Ga. Aug. 6, 2019); McGee, 2019 WL 5491811, at *1 (adopting

recommendation dismissing case after compelling arbitration of all remaining

claims).18

      SCAD met its burden of proving that the parties formed a valid arbitration

agreement that applies to Plaintiff’s § 1981 claims in this case, but Plaintiff has


18
  Plaintiff brings another claim seeking a declaratory judgment that the arbitration
agreement is unenforceable. (Doc. 13). However, the Court has resolved that claim
by granting Defendant’s motion to compel.
                                        72
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 73 of 82




refused to submit his claims to arbitration. Plaintiff’s arguments that the agreement

is unenforceable because it is indefinite, unconscionable, or because SCAD has

waived its right to arbitrate all fail. Therefore, it is RECOMMENDED that

Defendant’s Refiled Motion to Dismiss and to Compel Arbitration (Doc. 35) be

GRANTED and Plaintiff’s First Amended Complaint (Doc. 13) be DISMISSED.

II.   Plaintiff’s Motion For Limited Early Discovery

      Plaintiff also renews his Motion to Take Limited Early Discovery on Issues

of Arbitrability. (Doc. 40). Plaintiff has not shown good cause for the Court to allow

early discovery. This motion is denied.

      a. Legal Standards

      “Ordinarily, a party may not engage in discovery prior to the conference

required under Federal Rule of Civil Procedure 26(f), with certain exceptions.”

Thompson v. Does 1-5, No 3:17-cv-146-TCB, 2018 WL 8997254, at *1 (N.D. Ga.

May 8, 2018) (citing FED. R. CIV. P. 26(d)(1)). “However, a court may allow early

discovery upon a showing of good cause.” Id. (citing Arista Records, LLC v. Does

1–7, No. 3:08-cv-18(CDL), 2008 WL 542709, at *1 (M.D. Ga. Feb. 25, 2008)).

      “Under the FAA, ‘[i]f the making of the arbitration agreement or the failure,

neglect, or refusal to perform the same be in issue, the court shall proceed summarily

to the trial thereof.’” Reed, 2020 WL 5659436, at *7 (quoting 9 U.S.C. § 4).

Additionally, “[t]he Eleventh Circuit has held that a summary-judgment like

                                          73
         Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 74 of 82




standard should be applied to §4 when assessing whether a trial is necessary” on

arbitrability. Id. (citing Bazemore, 827 F.3d at 1333). Thus, if there is no genuine

dispute as to any material fact concerning arbitrability, then the Court can resolve

the arbitrability disputes as a matter of law. Id. (citing Bazemore, 827 F.3d at 1333).

If there is a dispute of material fact, the Court should proceed to trial on that issue.

Id. (citing Burch v. P.J. Cheese, Inc., 861 F.3d 1338, 1346 (11th Cir. 2017)).

Alternatively, the Court can allow for limited early discovery to determine whether

there exists a genuine issue of material fact on a question of arbitrability. Id.

         b. Analysis

         Plaintiff seeks limited early discovery into the following areas: (1) the parties’

intent when agreeing any dispute between them would be governed by the version

of the ARPA “in effect at the time a request for mediation and/or arbitration is

initiated”; (2) SCAD’s “posture on cost shifting in other arbitrations” with

employees; (3) whether Defendant has allowed other parties in arbitration to select

from a more diverse pool of arbitrators; (4) whether Defendant has permitted third-

party discovery in prior arbitrations; and (5) the settlement negotiations between

SCAD and Pescitelli and any confidential settlement agreement that may have been

offered to other former fishing team members. (Doc. 40-1). For the reasons

discussed below, there is not good cause for allowing discovery into any of those

areas.

                                             74
          Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 75 of 82




               i. Formation Of Contract And Meaning Of “In Effect”

      First, Plaintiff seeks limited early discovery regarding the parties’ dispute over

which version, if any, of the ADRPA was in effect in 2020 when SCAD requested

arbitration of Plaintiff’s claims. (Doc. 40-1 at 7-11). Specifically, Plaintiff contends

that if the Court finds the term “in effect” in the ADRPA to be ambiguous but cannot

resolve that ambiguity with Georgia’s canons of contractual construction, then the

Court should allow discovery into the parties’ intent regarding that provision. (Id. at

10-11).

      As explained above in the discussion of SCAD’s Third MTCA, the “in effect”

provision and modification provision in the agreement are not ambiguous, and the

2015 ADRPA and Arbitration Procedures govern Plaintiff’s claims. Supra,

Discussion, Part I.c.ii. Further, even if the relevant provisions were ambiguous, the

Court can resolve that ambiguity in SCAD’s favor in this circumstance using

Georgia’s statutory canons of construction and considering the federal policy

favoring arbitration. Therefore, there is not good cause to open discovery into the

parties’ intent regarding the meaning of the ADRPA’s “in effect” or modification

provisions.

              ii. Cost-Shifting

      Plaintiff also moves for discovery regarding SCAD’s use of the cost-shifting

provision of the arbitration agreement in other arbitrations, arguing it “bears directly

                                          75
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 76 of 82




on Plaintiff’s claim that the cost shifting provision here is substantively

unconscionable.” (Doc. 40-1 at 12). Based on the evidence from Holcomb’s

deposition during his arbitration against SCAD, Plaintiff hypothesizes there could

be evidence that SCAD “routinely weaponizes” the cost-shifting provision during

arbitration to intimidate employee-claimants into dropping their claims. (Id. at 13).

Any such weaponization, Plaintiff argues, would make any future, speculative cost-

shifting a present, threatening reality for him during arbitration. (Id.). In other words,

SCAD’s emphasis on the cost-shifting provision during arbitration would have an

immediate and certain impact on Plaintiff’s willingness to continue his efforts to

vindicate his § 1981 claims through arbitration. Thus, Plaintiff seeks discovery into

the extent to which SCAD has emphasized the cost-shifting provision during

arbitrations with other former claimants. There is not good cause for opening

discovery into SCAD’s behavior during arbitrations against other employees, as any

such evidence would have no predictive value regarding SCAD’s behavior during

arbitration of the present case, and it would have no impact on the likelihood that

Plaintiff will actually face additional costs under the cost-shifting provision.

      First, SCAD’s conduct regarding the cost-shifting provision in previous

arbitrations is not predictive of its conduct during the arbitration of this dispute.

There is no way to know to any degree of certainty whether SCAD will emphasize

the consequences of the cost-shifting provision in proceedings with Plaintiff in an

                                           76
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 77 of 82




attempt to convince him to abandon his claims. Because SCAD’s conduct regarding

the cost-shifting provision in previous arbitrations is not indicative of whether it will

conduct itself in the same manner here, there is no good cause for opening discovery

into that conduct. Secondly, even assuming that SCAD forces Plaintiff to

acknowledge the cost-shifting provision of the ADRPA on the record during

arbitration, as it did to Holcomb, such behavior would be irrelevant to the

unconscionability of that provision. Such conduct would not have any impact on

which party is more likely to prevail on the merits of Plaintiff’s claims at an

arbitration hearing. Thus, it will not impact the likelihood that Plaintiff will have to

bear additional costs under the cost-shifting provision, which is the relevant question

when determining the unconscionability of that provision. Musnick, 325 F.3d at

1259. Therefore, even if SCAD’s “weaponization” of the cost-shifting provision in

previous arbitrations was perfectly predictive of whether SCAD will do the same

here, such conduct is irrelevant to this Court’s analysis of whether the provision is

substantively unconscionable. Therefore, there is no reason to open discovery into

SCAD’s posture toward cost-shifting in other arbitrations.

            iii. Selection Of The Arbitrator

      Next, Plaintiff seeks discovery into whether SCAD has enforced the

provisions of the arbitration agreement governing the selection of the arbitrator or

allowed claimants to draw on a more diverse pool of arbitrators. (Doc. 40-1 at 14).

                                           77
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 78 of 82




That request is based on Defendant’s statement that it has utilized arbitrators who

are not retired federal judges in previous arbitrations in response to Plaintiff’s

assertion that the criteria in the arbitration agreement for selecting an arbitrator is

unconscionable. (See Doc. 20-1 at 15-16 & n.9). However, the Court has explained

why the provisions governing the selection of an arbitrator are not unconscionable,

see supra, Discussion, Part I.e.ii.2.c., and the Court did not rely on Defendant’s

assurance that it has previously used arbitrators who were not former federal judges

to arrive at that conclusion. Thus, there is no reason to open discovery into who

SCAD has used as an arbitrator in the past or whether it strictly adhered to the

selection criteria in the ADRPA.

            iv. Allowance For Subpoena Of Non-Party Witnesses

      Plaintiff also seeks discovery into whether SCAD has allowed third-party

discovery in prior arbitrations or attempted to shield such discovery under the

Eleventh Circuit’s decision in Managed Care. (Doc. 40-1 at 14). As noted above, in

Managed Care, the Eleventh Circuit held that arbitrators in disputes governed by the

FAA cannot compel non-party witnesses to participate in pre-hearing discovery

proceedings, because arbitration is purely a creature of contract. Managed Care, 939

F.3d at 1159. “[A]n arbitrator’s authority over the parties to an arbitration is limited

by the contours of the parties’ agreement and those enumerated in the [FAA].” Id at

1158-59 (quoting Kennedy v. Am. Express Travel Related Servs. Co., 646 F.Supp.2d

                                          78
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 79 of 82




1342, 1343 (S.D. Fla. 2009)). “Non-parties to an arbitration agreement have not

subjected themselves to the authority of an arbitrator and, therefore, have not limited

their rights beyond the FAA.” Id. at 1159. The Eleventh Circuit then concluded that

§8 of the FAA “withholds the power to compel documents from non-parties without

summoning the non-party to testify[,]” “thus prohibiting pre-hearing discovery from

non-parties.” Id. at 1159-60. Defendant insists that pre-hearing discovery from non-

parties is allowed under the terms of the arbitration agreement here. (Doc. 28 at 21

n.13). Thus, Plaintiff seeks discovery into whether SCAD has ever held a different

position and “used Managed Care as a shield against third-party discovery in prior

arbitrations.” (Doc. 40-1 at 14). Such discovery is unnecessary as such information

is irrelevant to the resolution of the motion to compel arbitration.

      Despite SCAD’s insistence to the contrary, under Managed Care, an arbitrator

in this case could not compel a third-party witness to participate in pre-arbitration

hearing discovery, no matter what the parties’ agreement says. SCAD’s position in

prior arbitrations regarding whether an arbitrator can compel third-party pre-hearing

discovery is irrelevant here precisely because of the prohibition in Managed Care.

Regardless of SCAD’s position on the holding in Managed Care in previous

arbitrations, that case and its holding govern this arbitration. Further, Plaintiff’s

concern about pre-hearing discovery is only relevant to his argument that SCAD

waived its right to arbitrate in this case by purportedly offering at least one former

                                          79
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 80 of 82




member of its fishing team a confidential settlement that would possibly prevent him

from voluntarily participating in any pre-arbitration hearing investigation in this

case. (Doc. 38 at 32-34). Under that theory, Plaintiff is already assuming that

compelled non-party, pre-hearing discovery is off limits under Managed Care. More

importantly, as explained above in addressing the motion to compel arbitration,

Plaintiff’s waiver argument fails. Plaintiff was not prejudiced by SCAD’s

unsuccessful settlement offer to Pescitelli, and SCAD’s conduct regarding Pescitelli

was not the type of conduct that warrants waiver of the right to arbitrate. Nothing

that Plaintiff might find in discovery regarding SCAD’s position on formal pre-

hearing discovery of non-parties in prior arbitrations would change the above facts

regarding Plaintiff’s waiver argument. Thus, there is not good cause for allowing

discovery into SCAD’s prior position on the arbitrator’s ability to compel thirty-

party, pre-hearing discovery.

             v. Settlement Offers to Pescitelli and Other Team Members

      Lastly, Plaintiff seeks discovery into “the circumstances of the settlement

negotiations [between SCAD and Pescitelli], including the nature of Mr. Pescitelli’s

claims and whether they involved similar allegations to those Plaintiff makes in the

instant litigation[.]” (Doc. 40-1 at 15-16). Additionally, Plaintiff requests discovery

into “any agreements the former Fishing Team members may have signed that would




                                          80
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 81 of 82




impact their voluntary cooperation with proceedings in arbitration.” (Id. at 16).

There is not good cause for allowing discovery into any of those subjects.

      As just explained, Plaintiff’s waiver arguments to which these discovery

requests relate unequivocally fail. Even if SCAD did attempt to have Pescitelli and

other fishing team members sign confidentiality agreements in a deliberate attempt

to inhibit their ability to voluntarily participate in Plaintiff’s pre-arbitration hearing

investigation, such conduct is not the type of conduct that generally results in waiver

of the right to arbitrate. See supra, Discussion, Part I.f. The evidence already shows

Pescitelli did not sign the settlement of claims SCAD offered him, meaning he is not

prohibited from voluntarily participating in Plaintiff’s pre-hearing investigation, and

Plaintiff is not prejudiced by SCAD’s conduct. For those reasons, the Court can

already conclude that Plaintiff’s waiver argument fails, and further discovery into

the circumstances surround the settlement offer to Pescitelli is irrelevant and

unnecessary.

      Moreover, SCAD has already submitted evidence that the former members of

the fishing team did not sign confidentiality agreements in exchange for having their

scholarships continued once the team was discontinued in 2019, “or otherwise agree

to confidentiality.” (Alletto Decl. ¶ 8). That declaration resolves the matter and

eliminates any good cause there may be for opening discovery into whether SCAD




                                           81
       Case 1:20-cv-05000-JPB Document 43 Filed 11/04/21 Page 82 of 82




attempted to have former fishing team members agree to confidentiality regarding

circumstances pertaining to this dispute.

      In sum, there is not good cause to open limited early discovery into any of the

issues upon which Plaintiff seeks discovery. The Court can decide Defendant’s

MTCA without any additional evidence. It is ORDERED that Plaintiff’s Second

Motion for Limited Discovery be DENIED.

                                 CONCLUSION

      For the reasons stated above, it is RECOMMENDED that SCAD’s Refiled

Motion To Dismiss and to Compel Arbitration (Doc. 35) be GRANTED and

Plaintiff’s First Amended Complaint (Doc. 13) be DISMISSED. Further, it is

ORDERED that Plaintiff’s Renewed Motion to Take Limited Early Discovery on

Issues of Arbitrability (Doc. 40) be DENIED.

      The Clerk is directed to terminate the referral to the undersigned.

      IT IS SO ORDERED, REPORTED AND RECOMMENDED this 4th day

of November, 2021.

                                       /s/ J. Clay Fuller
                                       J. Clay Fuller
                                       United States Magistrate Judge




                                            82
